Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 1 of 79




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-02516-RBJ-NYW

   KHALFAN KHAMIS MOHAMED,

           Plaintiff,

   v.

   JONES, in his individual and official capacities,
   HUDDLESTON, in his individual and official capacities,
   OSAGIE, in his individual and official capacities,
   BRUSH, in his individual and official capacities,
   ESPINOZA, in his individual capacity,
   MILLER, in his individual capacity,
   LT. MURTON, in his individual capacity,
   LT. ARMIJO, in his individual capacity, and
   UNITED STATES OF AMERICA,

           Defendants.

        ORDER AND RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

   Magistrate Judge Nina Y. Wang

           This matter is before the court on four Motions:

           (1)     The Motion to Dismiss Second Amended Complaint in Part Pursuant to Rules

                   12(b)(6) and 12(b)(1) (the “First Motion to Dismiss”) [Doc. 71, filed July 27, 2021];

           (2)     Defendant United States’ Motion to Dismiss Claim Fifteen in the Second Amended

                   Complaint (the “Second Motion to Dismiss”) [Doc. 81, filed September 9, 2021]

                   (collectively, the “Motions to Dismiss”);

           (3)     Plaintiff’s Motion to File Surreply to Defendants’ Motion to Dismiss (the “Motion

                   to File a Surreply”) [Doc. 94, filed November 4, 2021]; and

           (4)     The Prisoner Motion for Appointment of Counsel (the “Motion to Appoint

                   Counsel”) [Doc. 98, filed November 8, 2021] (collectively, the “Motions”).
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 2 of 79




   The court considers the Motions pursuant to 28 U.S.C. § 636(b), the Order Referring Case dated

   November 16, 2020, [Doc. 13], 1 and the Memoranda dated July 27, 2021 [Doc. 72]; September 9,

   2021 [Doc. 82]; November 5, 2021 [Doc. 95] and November 9, 2021 [Doc. 99]. The court finds

   that oral argument will not materially assist in the resolution of these matters. For the following

   reasons, I respectfully RECOMMEND that: (1) the First Motion to Dismiss be GRANTED in

   part and DENIED in part and (2) the Second Motion to Dismiss be GRANTED. In addition, it is

   ORDERED that the Motion to File Surreply is DENIED and the Motion to Appoint Counsel is

   DENIED without prejudice.

                                           BACKGROUND

          This court draws the following facts from the Second Amended Complaint [Doc. 64] and

   presumes they are true for purposes of the Motions to Dismiss. Plaintiff Khalfan Khamis

   Mohamed (“Plaintiff” or “Mr. Mohamed”) is currently incarcerated at the United States

   Penitentiary Florence ADMAX in Florence, Colorado (“ADX Florence”) within the Federal

   Bureau of Prisons (“BOP”). See [Doc. 64 at 2]. On August 20, 2018, Plaintiff declared a hunger

   strike. [Id. at ¶ 2]. Mr. Mohamed gave notice of his hunger strike to “some senior staff members”

   at ADX Florence, so as to ensure that he could “be afforded all necessary medical attentions [in]

   accordance to the BOP’s Program Statements.” [Id. at ¶¶ 3-4]. According to Plaintiff, BOP

   policies require that, when an inmate has missed nine consecutive meals, medical staff are required

   to perform a “medical assessment” of the inmate. [Id. at ¶ 7]. Plaintiff missed his ninth

   consecutive meal on August 22, 2018, but no such medical assessment was performed on Plaintiff.

   [Id.]. On August 23, 2018, Mr. Mohamed woke up feeling weak, dizzy, and tired. [Id. at ¶ 9].


   1
    This case was originally referred to Magistrate Judge Kathleen M. Tafoya. See [Doc. 13]. Upon
   Judge Tafoya’s retirement, the case was re-assigned to the undersigned Magistrate Judge on
   February 1, 2022. See [Doc. 102].

                                                   2
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 3 of 79




          BOP policies also require the removal of food items and drinks from an inmate’s cell once

   the inmate has refused his ninth consecutive meal. [Id. at ¶ 11]. Unit Officers Baca, Miller

   (“Defendant Miller”), and Brush (“Defendant Brush”) arrived at Plaintiff’s cell on August 23,

   2018 to remove food items from Plaintiff’s cell. [Id. at ¶ 10]. Mr. Mohamed submitted to

   handcuffing and was taken to the law library; because he was too weak to put on training shoes,

   Mr. Mohamed was escorted wearing socks and shower shoes. [Id. at ¶¶ 10, 12, 14]. Observing

   Plaintiff’s weakened state, Officer Baca asked Plaintiff if he was okay; when Plaintiff responded

   “no,” Officer Baca replied, “I can see that,” and told Plaintiff he needed to eat. [Id. at ¶ 15].

          The law library was located approximately 30 feet from Mr. Mohamed’s cell. [Id. at ¶ 12].

   From the law library, Plaintiff observed Defendant Brush “removing almost [everything] from

   [his] cell.” [Id. at ¶ 17]. Defendant Brush then informed Plaintiff that Lieutenant Armijo

   (“Defendant Armijo”) wanted Plaintiff to take off his personal clothes and put on BOP-provided

   clothes. [Id. at ¶ 18]. Mr. Mohamed asked if he could speak with Defendant Armijo in his cell or

   in the law library; Defendant Brush agreed to take Plaintiff back to his cell. [Id. at ¶¶ 19-20].

          Use of Force. As Plaintiff was escorted back, he stopped when they reached his cell,

   “thinking that the officers ha[d] missed [his] cell,” and reminded the officers that he was told he

   would be brought back to his cell. [Id. at ¶ 23]. Defendant Brush, “immediate[ly] without any

   warning nor any need,” threw Plaintiff against the wall and smashed Plaintiff’s head multiple times

   against the wall while shouting, “stop resisting, stop resisting.” [Id. at ¶ 25]. Plaintiff was not

   resisting and never resisted. [Id. at ¶¶ 25, 27]. Mr. Mohamed was then “crushed on to the ground,

   face-down, while [Defendant] Brush and another officer,” who Plaintiff asserts was “most likely

   [Defendant] Miller,” punched, kicked and spit on Plaintiff. [Id. at ¶ 29]. Officers restrained

   Plaintiff’s legs with leg cuffs before “many officers, possibly 10 or more,” began punching,



                                                     3
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 4 of 79




   kicking, and spitting on Plaintiff. [Id. at ¶¶ 30-31]. Defendant Brush, “with help from other

   officers,” attempted to break Mr. Mohamed’s arms, legs, feet, and toes by “twisting and

   manipulating them aggressively.” [Id. at ¶ 34]. Defendant Brush and other officers also made

   verbal threats to Plaintiff, threatening to “kill” Plaintiff, taunting Plaintiff that no one would

   believe him, and telling Plaintiff that “this [is] America, not an Iraq or Afghanistan.” [Id. at ¶ 36].

   While Plaintiff was being struck during this incident and “in the following beatings,” the officers

   forced his upper body and head down so that Plaintiff could not “identify most of the officers who

   were torturing and abusing [him].” [Id. at ¶ 39].

           Plaintiff was then “violently made to stand up” and walk through the hallway, as officers

   continued to beat him. [Id. at ¶ 40]. When Plaintiff and the officers “reached the end of the range-

   A,” Mr. Mohamed was able to look up and see Defendant Armijo and Lieutenant Murton

   (“Defendant Murton”) watching Plaintiff limp in pain “while the officers continue[d] to

   maliciously and sadistically attack and abuse [him].” [Id. at ¶ 46]. Mr. Mohamed cried for help,

   but despite Defendants Armijo and Murton witnessing the use of force, they did not intervene;

   instead, Defendant Murton gave instructions to the officers “on how to beat [Plaintiff].” [Id. at

   ¶¶ 47-49, 60]. At the time, Defendant Armijo was the unit’s lieutenant and was in charge “of the

   unit’s daily operations and its officers.” [Id. at ¶ 50].

           Defendant Murton ordered the officers to place Mr. Mohamed in the observation cell. [Id.

   at ¶¶ 60-61]. Mr. Mohamed was then “pushed into the [observation cell],” where Defendant Miller

   hit Plaintiff in the face with his knee multiple times. [Id. at ¶¶ 54-55]. Defendant Murton

   continued to instruct the officers who were using physical force on Mr. Mohamed, instructing them

   to “put him against the wall,” “bend him over,” and “place him on the bed.” [Id. at ¶ 65]. In

   addition, while Officer Espinoza (“Defendant Espinoza”) hit plaintiff in the face and aggressively



                                                      4
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 5 of 79




   pulled his beard and ears up and down, Defendant Murton told him to “keep it to the body,” which

   Plaintiff asserts suggests an effort to avoid creating evidence of the beating. [Id. at ¶¶ 66, 73].

   Defendant Espinoza threatened Plaintiff by stating: “stupid little terrorist, . . . we got your Leader,

   Bin Laden, we soon gonna send you where he is . . . hell.” [Id. at ¶ 74]. Plaintiff states that, on

   information and belief, Defendants Murton, Brush, and Espinoza “all have [a] long history and

   reputation in abusing prisoners at the ADX including using . . . excessive force against them and

   then fabricating incident reports against those prisoners.” [Id. at ¶ 67].

           While Plaintiff was being beaten in the observation, he heard P.A. Osagie (“Defendant

   Osagie”) “from the cell’s door, very close to where [Plaintiff] was being beaten, saying

   approvingly ‘is he still resisting,’” even though Plaintiff was not resisting and was in full restraints.

   [Id. at ¶ 76]. Plaintiff states that he knows Defendant Osagie “from at least early 2002 and his

   voice and accent are obviously identifiable to [Plaintiff] and to anyone who [knows] him.” [Id. at

   ¶ 79]. Plaintiff alleges that, because he had been placed on a concrete bed which is “several feet

   high,” Defendant Osagie “must have seen [him] and the beating very [easily] and without any

   efforts” and Defendant Osagie must have heard Mr. Mohamed’s repeated insistence that he was

   not resisting. [Id. at ¶ 78]. According to Plaintiff, Defendant Osagie is both a fully trained prison

   guard and a medical professional, and “could have used either of these two positions he hold[s] to

   stop the abuses,” but did not. [Id. at ¶ 83]. Plaintiff was later given an incident report for

   “attempting assault” against Defendant Brush; Plaintiff alleges Defendants Brush, Miller, and

   Office Baca fabricated reports to justify the beating of Plaintiff. [Id. at ¶¶ 107-08]. Plaintiff was

   found “guilty” of attempted assault by the ADX Florence’s disciplinary officer. [Id. at ¶ 108].

   Plaintiff still lives with excessive anxiety, a fear of prison guards, poor sleeping, and nightmares

   due to the August 23, 2018 use of force. [Id. at ¶ 126].



                                                      5
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 6 of 79




           The Confiscation of Plaintiff’s Materials. Mr. Mohamed was left in the observation cell

   for several hours after the beatings. [Id. at ¶ 86]. Defendant Brush approached Plaintiff and stated:

   “I am not finished . . . with you, I’m gonna kill you, and I saw your journals, and manuscripts and

   other shit[] in your cell, trust me, everything is gonna be in the trash,” or “some statements with

   [similar] meanings.” [Id.]. When Mr. Mohamed was taken back to his cell, his cell was “virtually

   empty.” [Id. at ¶ 87]. Plaintiff alleges that Defendant Brush removed almost everything from his

   cell, including (1) his daily journals or diaries, comprising 12 notebooks with entries from 2001

   through August 2018; (2) three manuscripts written by Plaintiff, which included (a) a 900-page

   unfinished manuscript about peace and tolerance between the religions of Islam, Christianity, and

   Judaism; (b) a 500-page manuscript of the Qur’an translated by Plaintiff into Swahili, Plaintiff’s

   native language; and (c) a 450-page manuscript about slavery throughout history; (3) Plaintiff’s

   notes about “important books that [he had] read previously;” (4) seven of Plaintiff’s books. [Id. at

   ¶¶ 88-94]. Defendant Brush also took a “few short works/researches” [sic], legal and religious

   materials, cosmetic items, writing and postage materials, toiletries, and the cup Plaintiff used to

   drink water. [Id. at ¶ 102]. Plaintiff submitted a written request to a correctional counselor,

   insisting that his written materials be kept for him, or that he be permitted to send them outside the

   prison. [Id. at ¶ 96]. The counselor responded that everything would be kept for Plaintiff in storage

   until he came off of his hunger strike. [Id.].

           After Plaintiff ended his hunger strike, he was told that his materials could not be found.

   [Id. at ¶ 99]. Plaintiff sent several written requests asking for help locating his materials, including

   to the warden of ADX Florence, the unit team, the property officer, a lieutenant, and an “SIS staff

   member.” [Id.]. He also “filed an Administrative Remedy on the above materials.” [Id. at ¶ 100].

   A few items were returned to Plaintiff: two volumes of an Arabic Bible, an English dictionary, a



                                                      6
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 7 of 79




   “bunch of old Admin. Remedies,” three or four religious books, a photo album, a prayer rug, a pair

   of shoes, shower shoes, a shirt, and some packages of soup. [Id. at ¶ 101]. Plaintiff alleges that

   the materials taken by Defendant Brush, including his journals, manuscripts, and notes, had

   “previously survived all [hunger strikes] and shake-downs.” [Id. at ¶ 103]. Plaintiff alleges that

   the loss of his materials left him with a “high level” of depression and the feeling of failure due to

   “the huge loss of everything that [he had] worked [on] for almost 20 years,” which has caused

   Plaintiff to experience suicidal ideation. [Id. at ¶¶ 126-27]. Plaintiff was prescribed medication

   for his depression and was told that he is suffering from post-traumatic stress disorder (“PTSD”).

   [Id. at ¶ 128].

           Injuries and Medical Attention. Plaintiff alleges that he suffered numerous physical

   injuries in the beatings, including but not limited to lacerations, bruises, abrasions, scars on his left

   wrist, swollen ankles and wrists, nose bleeds that lasted two or three days, jaw pain that lasted two

   months, ankle and wrist pain that continues “to this day,” and an acute right ankle fracture. [Id. at

   ¶¶ 114-18]. Nurse Jones (“Defendant Jones”) performed a medical assessment following the

   beatings. [Id. at ¶ 130]. Plaintiff complained to Defendant Jones that he believed his ankle was

   broken and that he could not walk due to the “excruciating” amount of pain he was in, and

   requested an x-ray to check his jaw, wrists, and ankles. [Id. at ¶ 132]. Defendant Jones refused to

   provide an x-ray, pain medication, or ice, refused Plaintiff’s request to see a doctor, and told

   Plaintiff that the swelling would go away on its own. [Id.]. Defendant Jones also refused

   Plaintiff’s request for examination of the symptoms caused by Plaintiff’s hunger strike, despite

   being such examination required by the BOP’s Program Statement, stating that he was “only asked

   to assess [Plaintiff] for the use of force incident.” [Id. at ¶¶ 134, 136]. Defendant Jones saw

   Plaintiff “several more time[s]” for a hunger strike medical assessment, including on August 27,



                                                      7
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 8 of 79




   2018 and September 3 and 5, 2018, but continued to refuse to assess or treat Plaintiff’s physical

   injuries, even though Plaintiff’s ankle was “swollen to about 75% of an orange size.” [Id. at ¶ 137].

   Defendant Jones told Plaintiff: “once you eat, we’ll [examine] you.” [Id.]. According to Mr.

   Mohamed, Defendant Jones “wanted to punish [him]” for being on his hunger strike. [Id. at ¶ 136].

          Nurse Huddleston (“Defendant Huddleston”) performed the first medical assessment

   related to Mr. Mohamed’s hunger strike on August 26, 2018. [Id. at ¶ 141]. Plaintiff was in

   excruciating pain and had a swollen ankle, and informed Defendant Huddleston that he could not

   walk or sleep. [Id.]. Mr. Mohamed “begged” Defendant Huddleston for an x-ray, pain medication,

   or ice, or to be seen by a doctor, but Defendant Huddleston refused these requests on the basis that

   he was only there to perform a hunger-strike assessment. [Id.]. Defendant Huddleston told

   Plaintiff that he was “here to do the [hunger strike] assessment” and that “[a]ny treatment for your

   injuries that you want[,] that will come . . . after you come off your [hunger strike].” [Id. (ellipses

   in original)]. Defendant Huddleston saw Plaintiff on several occasions, including August 27 and

   31, 2018 and September 3, 2018, but continually refused to treat Plaintiff’s injuries. [Id. at ¶ 143].

          In addition, Defendant Osagie witnessed Mr. Mohamed’s “uncovered, obvious and

   substantially swollen right ankle,” observed that he was in pain, and heard Plaintiff’s complaints

   of excruciating pain. [Id. at ¶ 146]. Mr. Mohamed informed Defendant Osagie that he could not

   sleep, walk, or pray due to his pain. [Id.]. Defendant Osagie performed only a hunger strike

   assessment and declined to look at Plaintiff’s obvious injuries. [Id.]. According to Plaintiff,

   Defendant Osagie “wanted [Plaintiff] to come off [the hunger strike] in order to get treatments,

   including an x-ray,” and “said ‘everything will be [alright] if you eat.’” [Id.]. Plaintiff was then

   “tightly strapped and tied with leg cuffs right on [his] broken ankle on the wheelchair and then

   pushed to the medical unit for . . . force feeding.” [Id. at ¶ 147]. After Plaintiff ate, Defendant



                                                     8
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 9 of 79




   Osagie ordered Plaintiff to walk back and forth with heavy leg cuffs on Plaintiff’s ankle, despite

   the fact that Plaintiff was obviously in pain. [Id.]. Plaintiff was assessed again by Defendants

   Osagie and Huddleston on August 31, 2018, and these Defendants refused Plaintiff’s “previous

   requests,” even though his ankle was swollen to “90% of an orange size.” [Id. at ¶ 149]. On

   September 3, 2018, Defendant Osagie warned Plaintiff to not complain on camera or write to

   superior staff about his pain and refused to give Plaintiff pain medication. [Id. at ¶ 157].

          Plaintiff received an ankle x-ray on August 31, 2018. [Id. at ¶ 139]. Defendant Jones

   informed Plaintiff on September 3, 2018 that his ankle x-rays showed “twisted muscles,” [id. at

   ¶ 119], and on September 5, 2018, informed Plaintiff that the x-ray showed a fracture. [Id. at

   ¶ 139]. Defendant Jones supplied Plaintiff with a splint and a wheelchair and told Plaintiff that he

   would be seen by an orthopedist “in the coming few days,” [id. at ¶ 119], but denied Plaintiff’s

   requests for medication or ice. [Id. at ¶ 139]. Non-party Dr. Oba replaced the split with a hard

   cast on September 12, 2018, informing Plaintiff that the orthopedist had looked at Plaintiff’s x-

   rays and instructed Dr. Oba to put the cast on Plaintiff, which was to remain in place for three

   weeks. [Id. at ¶ 119]. After Plaintiff was x-rayed again on September 25, 2018, Defendant Jones

   informed him that the fracture had not yet healed. [Id. at ¶ 120]. A second x-ray was taken on

   October 23, 2018, at which time the x-ray technician informed Plaintiff that the previous x-ray had

   “missed some details.” [Id.]. On November 16, 2018, Defendant Osagie took off Plaintiff’s case,

   which revealed a swollen and very painful ankle. [Id. at ¶ 122]. Plaintiff asked Defendant Osagie

   for “physical therapy[,] follow up, or any other help,” but Defendant Osagie said the requested

   treatment was not needed. [Id.]. On December 6, 2018, Plaintiff was given ibuprofen tablets, the

   first pain medication given to Plaintiff since he was injured in August. [Id.]. On December 23,

   2018, Plaintiff sent a request to Dr. Oba complaining about his pain. [Id. at ¶ 123]. After additional



                                                     9
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 10 of 79




    request for treatment were refused by non-parties to this action, see, e.g., [id. at ¶ 123], Mr.

    Mohamed was seen by Dr. Oba on April 23, 2019, at which time Plaintiff was prescribed a pain

    medication and issued a compression sock to address swelling. [Id. at ¶ 125]. According to

    Plaintiff, the use of force on August 23, 2018 left him with “several serious and [permanent]

    injuries.” [Id. at ¶ 114]. To this day, his right ankle remains painful and swollen. [Id. at ¶ 116].

    In addition, he continues to have pain in his wrists, jaws, and periodic heavy nose bleeds. [Id.].

           Believing Defendants violated his constitutional and related federal rights, Mr. Mohamed

    initiated this action by filing his pro se prisoner Complaint on August 20, 2020. [Doc. 1].

    Following orders from the Honorable Gordon P. Gallagher, Plaintiff filed an Amended Prisoner

    Complaint on October 5, 2020. [Doc. 9]. Judge Gallagher determined that Plaintiff’s claims were

    not appropriate for summary dismissal, [Doc. 12], and the case was assigned to the presiding

    judge, the Honorable R. Brooke Jackson, and referred to the Honorable Kathleen M. Tafoya. [Doc.

    12; Doc. 13]. Upon motion from Plaintiff, see [Doc. 56], Judge Tafoya granted Plaintiff leave to

    amend his Amended Prisoner Complaint on June 22, 2021, [Doc. 63], and the Second Amended

    Prisoner Complaint (the “Second Amended Complaint”) remains the operative pleading in this

    action. [Doc. 64].

           The Second Amended Complaint raises fifteen claims, many of which are raised pursuant

    to Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971)

    (“Bivens”) and the Federal Tort Claims Act (“FTCA”). See generally [id.]. Specifically, Mr.

    Mohammed asserts the following claims under Bivens: (1) an Eighth Amendment excessive force

    claim against Defendant Brush (“Claim One”); (2) a failure-to-intervene claim against Defendant

    Armijo (“Claim Two”); (3) an Eighth Amendment excessive force claim against Defendant Miller

    (“Claim Three”); (4) a failure-to-intervene claim against Defendant Murton (“Claim Four”); (5) an



                                                    10
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 11 of 79




    Eighth Amendment excessive force claim against Defendant Espinoza (“Claim Five”); (6) an

    Eighth Amendment failure-to-intervene claim against Defendant Osagie (“Claim Six”); (7) a First

    Amendment claim against Defendant Brush (“Claim Seven”); (8) an Eighth Amendment deliberate

    indifference claim against Defendant Jones (“Claim Eight”); (9) an Eighth Amendment deliberate

    indifference claim against Defendant Huddleston (“Claim Nine”); and (10) an Eighth Amendment

    deliberate indifference claim against Defendant Osagie (“Claim Ten”). In addition, Mr. Mohamed

    asserts five claims against the United Status under the FTCA: (1) three claims of battery (“Claim

    Eleven,” “Claim Twelve,” and “Claim Thirteen”); (2) negligent supervision (“Claim Fourteen”);

    and (3) a claim of “negligent performance” (“Claim Fifteen”). See generally [id.].

           Defendants filed their First Motion to Dismiss on July 27, 2021, arguing that (1) Plaintiff’s

    excessive-force, failure-to-intervene, and First Amendment claims should be dismissed for lack of

    a Bivens remedy; (2) certain individual Defendants are entitled to qualified immunity; (3) all of

    Plaintiff’s official-capacity claims fail to state a claim; and (4) the FTCA claim for negligent

    supervision fails to state a claim and has not been exhausted. See [Doc. 71 at 1]. Defendants then

    filed the Second Motion to Dismiss, 2 seeking to dismiss only Claim Fifteen for failure to file a

    certificate of review as required by Colorado law. [Doc. 81 at 1]. 3 Mr. Mohamed has responded

    to both Motions to Dismiss, see [Doc. 83; Doc. 88], and Defendants have since replied. [Doc. 89;

    Doc. 90]. Also pending before the court is Plaintiff’s Motion to File a Surreply, see [Doc. 94],


    2
      Defendants sought leave to file a 34-page motion to dismiss. [Doc. 69]. Judge Jackson denied
    this request, but permitted Defendants leave to file a 20-page motion to dismiss. [Doc. 70]. After
    filing the 20-page First Motion to Dismiss, Defendants then filed the 4-page Second Motion to
    Dismiss, asserting a defense that, according to Defendants, was not available at the time it filed
    the First Motion to Dismiss. See [Doc. 81 at 1 n.1]. While the combined Motions to Dismiss
    exceed 20 pages, the court does not pass on the propriety of the Second Motion to Dismiss, leaving
    any such determination to the presiding judge.
    3
     Thus, Defendants do not seek dismissal of Plaintiff’s Claims Eleven, Twelve, or Thirteen. See
    generally [Doc. 71; Doc. 81].

                                                    11
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 12 of 79




    which is opposed by Defendants.           [Doc. 100].     Because these Motions are ripe for

    recommendation, I consider the Parties’ arguments below.

                                        MOTIONS TO DISMISS

                                         LEGAL STANDARDS

    I.     Rule 12(b)(1)

           Federal courts are courts of limited jurisdiction. Under Article III of the United States

    Constitution, federal courts only have jurisdiction to hear certain “cases” and “controversies.”

    Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157 (2014). As such, courts “are duty bound to

    examine facts and law in every lawsuit before them to ensure that they possess subject matter

    jurisdiction.” Wilderness Soc. v. Kane Cty., 632 F.3d 1162, 1179 n.3 (10th Cir. 2011) (Gorsuch,

    J., concurring). Indeed, courts have an independent obligation to determine whether subject matter

    jurisdiction exists, even in the absence of a challenge from any party. 1mage Software, Inc. v.

    Reynolds & Reynolds, Co., 459 F.3d 1044, 1048 (10th Cir. 2006) (citing Arbaugh v. Y & H Corp.,

    546 U.S. 500 (2006)).

    II.    Rule 12(b)(6)

           Under Rule 12(b)(6), a court may dismiss a complaint for “failure to state a claim upon

    which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In deciding a motion under Rule 12(b)(6),

    the court must “accept as true all well-pleaded factual allegations . . . and view these allegations

    in the light most favorable to the plaintiff.” Casanova v. Ulibarri, 595 F.3d 1120, 1124 (10th Cir.

    2010) (quoting Smith v. United States, 561 F.3d 1090, 1098 (10th Cir. 2009)). Nevertheless, a

    plaintiff may not rely on mere labels or conclusions, “and a formulaic recitation of the elements of

    a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also

    Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991) (holding that pro se litigants cannot rely on



                                                    12
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 13 of 79




    conclusory, unsubstantiated allegations to survive a 12(b)(6) motion). Rather, “a complaint must

    contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its

    face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Robbins v. Oklahoma, 519 F.3d 1242,

    1247 (10th Cir. 2008) (explaining that plausibility refers “to the scope of the allegations in a

    complaint,” and that the allegations must be sufficient to nudge a plaintiff’s claim(s) “across the

    line from conceivable to plausible”). The ultimate duty of the court is to “determine whether the

    complaint sufficiently alleges facts supporting all the elements necessary to establish an

    entitlement to relief under the legal theory proposed.” Forest Guardians v. Forsgren, 478 F.3d

    1149, 1160 (10th Cir. 2007).

    III.   Pro Se Pleadings

           In applying the above principles, this court is mindful that Mr. Mohamed proceeds pro se

    and the court thus affords his papers and filings a liberal construction. Haines v. Kerner, 404 U.S.

    519, 520-21 (1972). But the court cannot and does not act as his advocate, Hall, 935 F.2d at 1110,

    and applies the same procedural rules and substantive law to Plaintiff as to a represented party.

    See Murray v. City of Tahlequah, 312 F.3d 1196, 1199 n.2 (10th Cir. 2008); Dodson v. Bd. of Cty.

    Comm’rs, 878 F. Supp. 2d 1227, 1236 (D. Colo. 2012).

                                                 ANALYSIS

           As set forth above, Defendants raise various arguments for dismissal of several of

    Plaintiff’s claims. See [Doc. 71; Doc. 81]. The court first considers whether Plaintiff should be

    granted leave to file a surreply to the First Motion to Dismiss before turning to Defendants’

    arguments that Claims One, Two, Three, Four, Five, Six, and Seven should be dismissed pursuant

    to Rule 12(b)(6) for lack of a viable Bivens remedy. Then, the court turns to the doctrine of

    qualified immunity, which Defendants suggest bars Plaintiff’s Claims Six, Seven, Eight, Nine, and



                                                      13
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 14 of 79




    Ten. Finally, the court addresses Claim Fourteen, which Defendants argue should be dismissed

    for failure to exhaust administrative remedies and failure to state a claim, and Claim Fifteen, which

    Defendants assert should be dismissed for failure to file a certificate of review.

    I.     Plaintiff’s Motion to File a Surreply

           Because Plaintiff’s Motion to File a Surreply implicates the documents the court may

    consider in issuing its Recommendation on the First Motion to Dismiss, the court considers this

    Motion first. On November 4, 2021, Plaintiff sought leave of court to file a surreply to the First

    Motion to Dismiss, 4 arguing that Defendants “included several new legal arguments for the first

    time” in their Reply to the First Motion to Dismiss. [Doc. 94 at 1]; see also [Doc. 89 (the Reply)].

    Defendants oppose the Motion to File a Surreply, arguing that the arguments identified by Plaintiff

    are not new legal arguments but are rather responsive assertions to the points raised by Plaintiff in

    his Response. [Doc. 100 at 3].

           The court respectfully agrees with Defendants. The court has reviewed the Reply and does

    not find that the arguments highlighted by Mr. Mohamed constitute “new” arguments, as each of

    the arguments cited by Plaintiff is simply an expansion of an argument raised in the First Motion

    to Dismiss made in response to an assertion made by Plaintiff in his Response. For example,

    Plaintiff argues that Defendants’ focus on the allegations in the Second Amended Complaint that

    several of Plaintiff’s confiscated items were returned to him constitutes a new argument. [Doc. 94

    at 2]. However, this statement was made in the course of arguing that Plaintiff failed to state a

    First Amendment claim, an argument made in the First Motion to Dismiss, see [Doc. 71 at 10],


    4
     Although Mr. Mohamed references the document number associated with the Second Motion to
    Dismiss, see [Doc. 94 at 1], he also references the document numbers associated with the Response
    and Reply to the First Motion to Dismiss. See [id.]. Because Mr. Mohamed’s arguments are
    directed to Defendants’ Response to the First Motion to Dismiss, the court believes Mr. Mohamed
    seeks to file a surreply to the First Motion to Dismiss.

                                                     14
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 15 of 79




    and was specifically asserted to counter Plaintiff’s argument that he had stated a First Amendment

    claim because Defendant Brush told him that his confiscated materials would be thrown away. See

    [Doc. 89 at 9]; see also [Doc. 83 at 7]. In addition, in their First Motion to Dismiss, Defendants

    argue that Plaintiff failed to exhaust his negligent supervision claim because Plaintiff’s

    administrative claim failed to mention negligent supervision or allege facts suggesting negligent

    supervision. [Doc. 71 at 18]. After Plaintiff argued that because two lieutenants—Defendants

    Murton and Armijo—were involved in the use of force, there was adequate notice of the negligent

    supervision claim, see [Doc. 83 at 18], Defendants then countered that “the fact that the . . . BOP

    may have known who was involved in the use of force is insufficient to put the BOP on notice that

    Plaintiff was alleging a failure to supervise.” [Doc. 94 at 3]. These are not new arguments, but

    rather assertions made in response to the arguments in the Response. The court reaches the same

    conclusion with respect to Defendants’ legal argument in their Reply that Defendants Murton and

    Armijo, who were present when the force was used against Plaintiff, cannot be relied upon to show

    the BOP’s knowledge of a risk of harm to Plaintiff. See [Doc. 89 at 12]. This assertion is not a

    new argument, but is rather an expansion of their original argument that Plaintiff failed to state a

    negligent supervision claim, see [Doc. 71 at 19], stated in response to Plaintiff’s arguments in

    opposition. See [Doc. 83 at 19].

           While the court does not pass on the merits of any arguments made in the Reply, the court

    finds they are not new. “[R]eply briefs reply to arguments made in the response brief,” Home

    Design Servs., Inc. v. B & B Custom Homes, LLC, 509 F. Supp. 2d 968, 971 (D. Colo. 2007), and

    the arguments raised in the Reply are properly before the court. For this reason, I respectfully

    DENY the Motion to File a Surreply. Cf. United States v. Ridley’s Fam. Markets, Inc., No. 1:20-




                                                    15
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 16 of 79




    cv-173-TS-JCB, 2021 WL 2141740, at *1 (D. Utah May 26, 2021) (denying motion to strike where

    arguments made in reply were not new, but merely responded to the opposition to the motion).

    II.    The Bivens Claims

           A.      Applicable Law

           Defendants move to dismiss Mr. Mohamed’s first seven claims for relief on the basis that

    no Bivens remedy exists for these claims. See [Doc. 71 at 3-8]. In Bivens, 403 U.S. 388, the

    Supreme Court of the United States established that an individual may seek monetary damages

    from a federal official in his or her individual capacity for an alleged violation of the Fourth

    Amendment’s prohibition on unreasonable search and seizure, even in the absence of statutory

    authority. Id. at 396-97. Though not the focus of the opinion, Bivens also included allegations of

    unreasonable force. See id. at 389; see also Holland ex rel. Overdorff v. Harrington, 268 F.3d

    1179, 1195 (10th Cir. 2001) (interpreting Bivens as holding “that officers may be held liable in

    damages for violating persons’ Fourth Amendment rights, including the use of unreasonable

    force.”). The Bivens Court rejected the proposition that the Fourth Amendment was not an

    independent limitation upon the exercise of federal power, observing that “damages may be

    obtained for injuries consequent upon a violation of the Fourth Amendment by federal officials

    should hardly seem a surprising proposition.” Id. at 394, 395. In doing so, the Supreme Court

    found that the case presented no special factors counseling hesitation in the absence of affirmative

    action by Congress. Id. at 396.

           As jurisprudence developed, it became clear that Bivens was not co-extensive to 42 U.S.C.

    § 1983, which provides an avenue for a plaintiff to address constitutional violations perpetuated

    by state actors. 5 The Supreme Court has limited the applicability of Bivens to only a handful of


    5
     Section 1983 has been extended to private actors in certain circumstances as well. See, e.g.,
    Lugar v. Edmondson Oil Co., 457 U.S. 922, 934 (1982) (holding that private actors may be liable
                                                    16
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 17 of 79




    constitutional violations. See, e.g., Bivens, 403 U.S. at 396 (providing a Bivens remedy for

    violations under the Fourth Amendment); Davis v. Passman, 442 U.S. 228, 248-49 (1979)

    (providing a Bivens remedy for gender discrimination under the Fifth Amendment Due Process

    Clause); Carlson v. Green, 446 U.S. 14, 18-21 (1980) (providing a Bivens remedy for failure to

    provide adequate medical treatment under the Eighth Amendment Cruel and Unusual Punishments

    Clause). Given concerns regarding the separation of powers between the legislative and judicial

    branches of government, the Supreme Court has cautioned lower courts not to imply causes of

    action under Bivens where no statutory authority exists, explaining such a task is better fit for

    Congress. Ziglar v. Abbasi, 137 S. Ct. 1843, 1856-57 (2017) (“[T]he Court has made clear that

    expanding the Bivens remedy is now a ‘disfavored’ judicial activity.”).

           In exercising this caution, the Supreme Court has articulated two questions that the court

    must address before implying a Bivens remedy for a claim not captured by Bivens, Davis, or

    Carlson. First, the court must determine whether the claim arises in a new context, which broadly

    encompasses any claims “different in a meaningful way from previous Bivens cases decided by

    [the Supreme] Court.” Hernandez v. Mesa, 140 S. Ct. 735, 743 (2020) (internal quotations

    omitted). If so, the court must then determine whether “there are special factors counselling

    hesitation in the absence of affirmative action by Congress.” Ziglar, 137 S. Ct. at 1857 (internal

    quotations omitted). In resolving these two questions, the court must be mindful of whether an

    alternative remedy exists that could protect the constitutional interests at stake such that implying




    under § 1983 when the action is fairly attributable to the State); Wittner v. Banner Health, 720
    F.3d 770, 777 (10th Cir. 2013) (observing that a private actor can be transformed into a state actor
    under the “joint action” test, in which a court inquires whether state officials and private parties
    have acted in concert in effecting a particular deprivation of constitutional rights).

                                                     17
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 18 of 79




    a damages remedy under Bivens may interfere with the powers of Congress. See Big Cats of

    Serenity Springs, Inc. v. Rhodes, 843 F.3d 853, 860-61 (10th Cir. 2016).

           Here, Defendants argue that the court “should not imply a Bivens remedy for the excessive

    force, failure-to-intervene, and First Amendment claims,” [Doc. 71 at 3], asserting that each of

    these claims arises in a “new context” and that, for each of these claims, there are alternative

    processes available to Plaintiff and special factors caution against recognizing a Bivens remedy.

    [Id. at 4-8]. The court addresses these arguments in turn.

           B.         First Amendment Claim – Claim Seven

           First, Defendants argue that the court should not recognize a Bivens remedy with respect

    to Plaintiff’s First Amendment claim against Defendant Brush—Claim Seven. [Id. at 4]. They

    assert that Claim Seven presents a new context not previously found applicable to Bivens claims—

    the removal of manuscripts and books from Plaintiff’s cell. [Id.]. In addition, they argue that there

    are alternative processes available to Mr. Mohamed because he “can pursue a claim under [31

    U.S.C. § 3723], which allows ‘[t]he head of an agency’ to ‘settle a claim for not more than $1,000

    for damage to, or loss of, privately owned property that is caused by the negligence of an officer

    or employee of the United States Government acting within the scope of employment.’” [Id.

    (quoting 31 U.S.C. § 3723(a))]. Finally, Defendants assert that the court should not find an implied

    Bivens remedy here because special factors caution against it. [Id. at 4-6].

                 1.      New Context

           Defendants argue that Mr. Mohamed’s First Amendment claim presents a new context for

    Bivens purposes because “the Supreme Court has never found that Bivens extends to First

    Amendment claims.” [Id. at 4]. Indeed, the Supreme Court has “declined to extend Bivens to a

    claim sounding in the First Amendment.” Iqbal, 556 U.S. at 675 (citing Bush v. Lucas, 462 U.S.



                                                     18
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 19 of 79




    367 (1983)); see also Reichle v. Howards, 566 U.S. 658, 663 n.4 (2012) (“We have never held that

    Bivens extends to First Amendment claims.”). In the years since Iqbal and Reichle, several Circuit

    courts have too determined that a First Amendment claim presents a new Bivens context, most

    often in the context of First Amendment retaliation. See, e.g., Earle v. Shreves, 990 F.3d 774, 779

    (4th Cir.), cert. denied, 142 S. Ct. 358 (2021) (First Amendment retaliation claim presented new

    context); Bistrian v. Levi, 912 F.3d 79, 95 (3d Cir. 2018) (same); Loumiet v. United States, 948

    F.3d 376, 382 (D.C. Cir.), cert. denied, 141 S. Ct. 180 (2020) (same). Most similar to the facts

    presently before the court, the Sixth Circuit recently found that a First Amendment cause of action

    in which the plaintiff alleged that prison guards had unconstitutionally seized his paintings on the

    basis that they violated the prison’s rules against possessing sexually explicit materials presented

    a “new context for purposes of Bivens.” See Callahan v. Fed. Bureau of Prisons, 965 F.3d 520,

    522, 524 (6th Cir. 2020).

           The court is persuaded by the weight of this Circuit authority. “The proper test for

    determining whether a case presents a new Bivens context is as follows. If the case is different in

    a meaningful way from previous Bivens cases decided by this Court, then the context is new.”

    Ziglar, 137 S. Ct. at 1859. Here, the pertinent facts and legal theories—the confiscation of

    Plaintiff’s books and personally drafted manuscripts, which Plaintiff alleges violated his First

    Amendment rights—differ from both the facts and the constitutional rights asserted in Bivens,

    Davis, and Carlson. See Shepard v. Rangel, No. 12-cv-01108-RM-KLM, 2014 WL 7366662, at

    *15 (D. Colo. Dec. 24, 2014) (First Amendment claim based on confiscation of plaintiff’s

    belongings presented new context); cf. Barrett v. GEO Grp., Inc., No. 21-cv-1603-CAB (JLB),

    2021 WL 5741448, at *4 (S.D. Cal. Dec. 2, 2021) (noting that it was “unlikely that Bivens can be

    extended to reach Plaintiff’s First Amendment” claim for confiscation of his religious items but



                                                    19
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 20 of 79




    ultimately declining to decide the issue); Callahan, 965 F.3d at 524. Accordingly, the court finds

    that this case presents a new context; thus, the court must next consider whether any special factors

    counsel against recognizing a Bivens claim here. 6

                 2.    Special Factors

           Next, the court must discuss whether special factors counsel against recognizing a Bivens

    cause of action. “The focus of the special-factors inquiry is ‘whether the Judiciary is well suited,

    absent congressional action or instruction, to consider and weigh the costs and benefits of allowing

    a damages action to proceed. Thus, to be a ‘special factor counselling hesitation,’ a factor must

    cause a court to hesitate before answering that question in the affirmative.’” Earle, 990 F.3d 774,

    779 (quoting Ziglar, 137 S. Ct. at 1857). One special factor the court must consider is whether

    there is “an alternative remedial structure present,” which “alone may limit the power of the

    Judiciary to infer a new Bivens cause of action.” Ziglar, 137 S. Ct. at 1858. In addition, the court

    considers “separation-of-powers principles, including the risk of interfering with the authority of

    the other branches and whether the judiciary can competently weigh the costs and benefits at

    stake.” Callahan, 965 F.3d at 524. “[L]egislative action suggesting that Congress does not want

    a damages remedy is itself a factor counseling hesitation.” Ziglar, 137 S. Ct. at 1865.




    6
      To the extent that Mr. Mohamed argues that “[t]he Tenth Circuit has implied [a similar] remedy
    on non-prison context cases,” citing to Big Cats, 843 F.3d 853, see [Doc. 83 at 3], the court
    respectfully is unpersuaded by this argument. In Big Cats, the Tenth Circuit was faced with a
    Fourth Amendment unreasonable search and seizure claim arising out of the Department of
    Agriculture’s alleged breaking into the plaintiff’s facility housing exotic animals and performing
    an unannounced inspection of two tiger cubs. 843 F.3d at 856. The Tenth Circuit, finding that the
    plaintiff had alleged “a garden-variety constitutional violation” which was “hardly a new context,”
    ultimately determined that the Bivens claim could proceed. Id. at 864. Big Cats is factually distinct
    from Plaintiff’s First Amendment claim and does not contain any analysis with respect to the “new
    context” determination which might alter this court’s analysis on the issue here.

                                                     20
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 21 of 79




           As set forth above, Defendants assert that Plaintiff possesses alternative remedies to

    address the confiscation of his property because he can bring a claim under the 31 U.S.C. § 3723.

    [Doc. 71 at 4]. In addition, they argue that Plaintiff “can seek a remedy under the prison grievance

    system.” [Id.]. In response, Mr. Mohamed argues that he “completed both before he filed this

    case with the court” and that both remedies “never worked.” [Doc. 83 at 3]. First, Mr. Mohamed

    asserts that § 3723 “only covers up to $1000.00 and does not apply to most of Plaintiff’s materials

    allegedly stolen or destroyed by [Defendant] Brush.” [Id.]. He asserts that his “small claim was

    still denied.” [Id. at 4]. Moreover, Plaintiff argues that he completed the BOP administrative

    remedy process but the “final response contained untruthful statements, based on ADX’s

    fabricated records.” [Id.]. Defendants argue in their Reply that “whether alternative processes are

    ultimately successful is irrelevant in considering whether to extend Bivens.” [Doc. 89 at 3].

           “Both the Tenth Circuit and the Supreme Court have recognized that . . . grievances filed

    through the BOP’s Administrative Remedy Program constitute alternative means of preventing

    unconstitutional conduct in the prison context.” Lovett v. Ruda, No. 17-cv-02010-PAB-KLM,

    2018 WL 4659111, at *8 (D. Colo. Sept. 28, 2018). The Supreme Court has explained that the

    BOP administrative remedy process provides a “means through which allegedly unconstitutional

    actions and policies [by BOP officials] can be brought to the attention of the BOP and prevented

    from recurring.” Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001). An alternative remedial

    mechanism “need not be perfectly congruent” with a potential Bivens remedy and may be

    “adequate” even if it does not “provide complete relief.” Minneci v. Pollard, 565 U.S. 118, 129

    (2012). Relevant here, courts have found that the BOP’s administrative grievance process provides

    an alternative remedy for an inmate to seek relief where the inmate’s possessions have been

    confiscated by BOP personnel. See, e.g., Callahan, 965 F.3d at 524; White v. Inch, No. 3:17-cv-



                                                    21
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 22 of 79




    01059-JPG-DGW, 2018 WL 6584899, at *2 (S.D. Ill. Dec. 14, 2018), aff’d sub nom. White v.

    Sloop, 772 F. App’x 334 (7th Cir. 2019).

           However, Defendants do not suggest that the administrative grievance process permits

    money damages. See Nyhuis v. Reno, 204 F.3d 65, 70 (3d Cir. 2000) (money damages are not

    available through BOP grievance process). “While there is no need for congruent remedies or

    even money damages to deny a Bivens remedy, there must be more than nothing.” Big Cats, 843

    F.3d at 862-63. In determining whether alternative remedies are available, “the appropriate

    consideration is whether an alternate, existing process demonstrates Congress’s intent to exclude

    a damages remedy. Id. at 862. “Evidence of that intent would be a scheme that provides adequate

    deterrence of constitutional violations and at least some form of relief for the harm.” Id. The

    operative question is “whether any alternative, existing process for protecting the interest amounts

    to a convincing reason for the Judicial Branch to refrain from providing a new and freestanding

    remedy in damages.” Wilkie v. Robbins, 551 U.S. 537, 550 (2007).

           Here, Plaintiff alleges that many of his personal belongings were taken from his cell by

    Defendant Brush. See [Doc. 64 at ¶ 96]. His allegations, however, are imprecise as to what he

    alleges happened to his property. Plaintiff states that he was told that his property would be kept

    in storage until he came off of his hunger strike, [id. at ¶ 98], but that, when he asked for his

    materials back, he only received some items. [Id. at ¶ 101]. Mr. Mohamed asserts that it is

    “apparent” that Defendant Brush has “destroy[ed]” his materials. [Id. at ¶¶ 105-06].

           If Mr. Mohamed’s belongings were indeed destroyed by Defendant Brush, it is unclear

    whether the administrative grievance process could afford Plaintiff any relief. The administrative

    grievance process provides prospective injunctive relief, and if Plaintiff’s belongings are indeed

    destroyed, the grievance process seemingly could do nothing to provide a remedy for the alleged



                                                    22
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 23 of 79




    violation of Plaintiff’s First Amendment rights. Cf. Bistrian v. Levi, 912 F.3d 79, 92 (3d Cir. 2018)

    (administrative grievance process was not an alternative remedy to address the beating of an inmate

    because it did not redress the harm, “which could only be remedied by money damages”); Big

    Cats, 843 F.3d at 862 (statute permitting administrative challenge to an adverse inspection report

    would not provide alternative relief where the plaintiff challenged an inspection based on an

    alleged violation of the constitutional right to be free from an unreasonable search); Callahan, 965

    F.3d at 532 (Moore, J., dissenting) (opining that administrative remedy program was insufficient

    to remedy the loss of the plaintiff’s painting, which could be remedied only by money damages).

    But if Plaintiff’s belongings were, alternatively, “kept in storage,” see [Doc. 64 at ¶ 98], it is

    possible that the BOP’s grievance procedures could ensure the return of Plaintiff’s items. Cf.

    Louis-El v. Ebbert, 448 F. Supp. 3d 428, 440 (M.D. Pa. 2020) (BOP grievance process could be

    utilized “to seek relief for the withholding of [the plaintiff’s] personal property”) (emphasis

    added).

              Because the court must construe Mr. Mohamed’s filings liberally, the court construes the

    Second Amended Complaint as asserting that Defendant Brush destroyed a significant portion of

    Mr. Mohamed’s confiscated property and assumes, without deciding, that the BOP’s

    administrative remedy cannot provide relief for this alleged constitutional violation. But even

    operating under this assumption, the court finds that Mr. Mohamed has an alternative remedy

    available in the form of an action filed under 31 U.S.C. § 3723.

              Section 3723 of Title 31 of the United States Code permits small claims up to $1,000 “for

    damage to, or loss of, privately owned property” that is caused by the negligent acts of a federal

    officer. 31 U.S.C. § 3723(a). Thus, Mr. Mohamed could bring a claim under this statute

    challenging the destruction of his property at the hands of Defendant Brush. Courts across the



                                                     23
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 24 of 79




    country have found that § 3723 provides an alternative remedy where an inmate has alleged that

    his personal property has been stolen or destroyed by federal officials. See, e.g., Bossio v.

    Spaulding, No. 4:20-cv-1777, 2021 WL 4123975, at *4 (M.D. Pa. Sept. 9, 2021); White v. Sloop,

    2018 WL 6977336, at *3 (S.D. Ill. Aug. 31, 2018), report and recommendation adopted sub nom.

    White v. Inch, 2018 WL 6584899 (S.D. Ill. Dec. 14, 2018); Adeyi v. FC Ft. Dix Health Servs., No.

    CIV. 09-5316 JBS/JS, 2012 WL 2076520, at *2 (D.N.J. June 7, 2012). 7

            While Mr. Mohamed asserts that § 3723 cannot constitute an alternative remedy because

    the statute “covers [only] up to $1000.00 and does not apply to most of [his] materials allegedly

    stolen or destroyed . . . because [it] requires [documentation] such as receipts of the stolen materials

    for the showing of the ownership,” see [Doc. 83 at 3-4], “[t]hat a plaintiff might not be able to

    recover under these remedies the full amount the plaintiff could recover under a Bivens-type

    remedy is not determinative of the adequacy of the remedy.” Ochoa v. Bratton, No. 16-cv-2852

    (JGK), 2017 WL 5900552, at *7 (S.D.N.Y. Nov. 28, 2017); see also Minneci, 565 U.S. at 129.

    Moreover, to the extent Plaintiff asserts that he sought a remedy under § 3723 and was

    unsuccessful, “[t]he fact that some alternative remedies . . . ultimately do not prove successful, is

    irrelevant.” Bowman v. Sawyer, No. 19-cv-01411-WJM-KMT, 2020 WL 7249089, at *7 (D. Colo.

    Aug. 31, 2020), report and recommendation adopted, 2020 WL 6390992 (D. Colo. Nov. 2, 2020)

    (citing Ziglar, 137 S. Ct. at 1865; Vega v. United States, 881 F.3d 1146, 1155 (9th Cir. 2018)).




    7
      Other courts have also identified an alternative remedy in 31 U.S.C. § 3724, which allows the
    Attorney General of the United States to settle claims for losses of personal property caused by
    employees of the Department of Justice. See, e.g., Bossio, 2021 WL 4123975, at *4 (noting that
    BOP employees “likely” are covered by § 3724); White, 2018 WL 6977336, at *3; Ochoa v.
    Bratton, No. 16-cv-2852 (JGK), 2017 WL 5900552, at *7 (S.D.N.Y. Nov. 28, 2017). Because this
    issue is not raised or briefed by the Parties, the court does not pass on whether § 3724 constitutes
    a second alternative remedy.

                                                      24
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 25 of 79




    Thus, the fact that Mr. Mohamed’s attempts to seek relief through § 3723 were unsuccessful does

    not mean that these alternative processes were not available to him. See id.

           “Courts owe substantial deference to the professional judgment of prison administrators,

    and absent concerns that prison inmates will be otherwise unable to redress their claims, courts

    should hesitate to create a new cause of action that may be brought against prison officials for

    monetary damages.” Richardson v. United States, No. CIV-18-763-D, 2019 WL 4038223, at *6

    (W.D. Okla. June 28, 2019), report and recommendation adopted, 2019 WL 4017616 (W.D. Okla.

    Aug. 26, 2019). And as set forth above, “legislative action suggesting that Congress does not want

    a damages remedy is itself a factor counseling hesitation.” Ziglar, 137 S. Ct. at 1865. In light of

    the alternative remedy available to Mr. Mohamed, which counsels against implying a Bivens

    remedy here, the court respectfully finds that an extension of Bivens is not appropriate here. I

    therefore respectfully RECOMMEND that the First Motion to Dismiss be GRANTED insofar as

    it seeks dismissal of Claim Seven against Defendant Brush in his individual capacity and that such

    claim be DISMISSED without prejudice. See Sabbath v. Hicks, No. 20-cv-00893-PAB-KMT,

    2021 WL 1300602, at *3 (D. Colo. Feb. 19, 2021), report and recommendation adopted, 2021 WL

    1015986 (D. Colo. Mar. 17, 2021) (“A Bivens action permits a person deprived of federal

    constitutional rights by a federal actor to maintain an action for monetary damages against that

    actor in an individual capacity.”); see also [Doc. 64 at 30 (Mr. Mohamed requesting that the court

    “Award the damage against Brush for 1st. Amend violation (Claim 7, individual capacity).”)].

           C.      Eighth Amendment Excessive Force Claims – Claims One, Three, and Five

           Next, Defendants contend that Plaintiff’s excessive force claims should be dismissed for

    lack of an available Bivens remedy. [Doc. 71 at 6]. Defendants argue that this case presents a new

    context, wherein “an inmate stopped unexpectedly during an escort and was then subjected to a



                                                    25
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 26 of 79




    use of force in order to bring him under control,” where the inmate was “subsequently convicted

    by a Disciplinary Hearing Officer of attempted assault.” [Id.]. 8 Moreover, Defendants argue that

    Plaintiff has an alternative remedy under the prison grievance system, under the Federal Tort

    Claims Act (“FTCA”), and under the mandamus statute, 28 U.S.C. § 1361. [Id. at 7-8]. Mr.

    Mohamed disagrees, arguing that his claims “do[] not differ in [a] meaningful way from the

    previously decided” Bivens cases, and even if his excessive force claims do present a new context,

    there are no special factors counseling against recognizing a Bivens remedy here because he “sues

    individual officials who are not among executive branch, policy makers, nor does he challenge

    any formal policy.” [Doc. 83 at 9]. Further, Mr. Mohamed asserts that the administrative

    grievance program is not a viable alternative remedy because he already completed that process

    and his grievance was denied, and he argues that the Supreme Court and the Tenth Circuit have

    “repeatedly rejected” an argument that the FTCA provides an alternative remedy. [Id. at 10].

                 1.     New Context

           Defendants first argue that this case presents a new context, arguing that even where, as

    here, a claim is asserted under the same constitutional provision under which a Bivens remedy has

    already been recognized, a claim may still arise in a new context if presented in different factual

    circumstances. [Doc. 71 at 6-7].

           This court has previously discussed the propriety of a Bivens remedy for an excessive force

    claim under the Eighth Amendment in great detail. See Smith v. Trujillo, No. 20-cv-00877-RBJ-

    NYW, 2021 WL 1799400, at *4 (D. Colo. Mar. 26, 2021), report and recommendation adopted,


    8
     The court notes that Mr. Mohamed consistently alleges in his Second Amended Complaint that
    he was not resisting and was complying with officers’ orders, see, e.g., [Doc. 64 at ¶¶ 25, 27, 30],
    and that his “conviction” of attempted assault was based on reports fabricated by certain
    Defendants. [Id. at ¶¶ 107-08]. The court takes these facts as true at the motion-to-dismiss stage,
    and thus, Defendants’ framing of this context is not relevant to the court’s Bivens analysis.

                                                    26
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 27 of 79




    2021 WL 1608829 (D. Colo. Apr. 26, 2021). In Smith, the plaintiff alleged that he was physically

    assaulted by BOP officials while in federal custody and asserted a Bivens claim for a violation of

    his Eighth Amendment rights. Id. at *1-2. The court concluded that, in light of extensive precedent

    implicitly recognizing a Bivens claim challenging the use of excessive force, and because an Eighth

    Amendment excessive force claim is not materially different from an Eighth Amendment

    deliberate indifference claim, there was “no meaningful difference between the deliberate

    indifference claim in Carlson and [the] excessive force claim—both arising under the Eighth

    Amendment.” Id. at *5. The court finds the same here.

           First, the court is respectfully unpersuaded by Defendants’ argument that this case presents

    a new context due to its “allegations that an inmate stopped unexpectedly during an escort and was

    then subjected to a use of force.” See [Doc. 71 at 6]. Defendants do not clearly articulate why the

    factual allegations concerning the events immediately preceding the alleged use of force are

    material to this court’s analysis, wherein the court must determine if a claim challenging the

    alleged excessive use of force presents a new context. See [id. at 6-7]; see also Jacobs v. Alam,

    915 F.3d 1028, 1038 (6th Cir. 2019) (“In arguing plaintiff’s Bivens claims are ‘new,’ defendants

    make much out of factual differences between Bivens . . . and this case. Yet at no point do

    defendants articulate why this case ‘differ[s] in a meaningful way’ under Ziglar’s rubric. Jacobs’s

    action presents no such novel circumstances identified in Ziglar.”); Ziglar, 137 S. Ct. at 1865

    (“trivial” differences “will not suffice to create a new Bivens context”).

           Second, the absence of a Supreme Court, Tenth Circuit, or a published District of Colorado

    opinion extending a Bivens remedy to Eighth Amendment excessive force claims does not alone

    foreclose this court from doing so here. See Lanuza v. Love, 899 F.3d 1019, 1026-27 (9th Cir.

    2018) (explaining that the Supreme Court in Ziglar did not broadly prohibit the extension of a



                                                     27
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 28 of 79




    Bivens remedy to claims not already recognized under Bivens and its progeny, but rather that the

    court must consider the specific facts and claims presented in making its determination). Indeed,

    other Tenth Circuit cases—while not expressly passing on the issue of whether courts may extend

    Bivens to excessive force claims brought by inmates against federal actors—do not preclude such

    a cause of action. See Jones v. Theodoroff, 104 F. App’x 141, 143 (10th Cir. 2004) (affirming

    dismissal of a Bivens action arising from alleged excessive force brought by an inmate against

    federal correctional officers without passing on whether such a claim under Bivens is cognizable).

    And the Supreme Court has implicitly recognized that a prisoner can pursue a Bivens claim for

    failure to protect under the Eighth Amendment if prison officials know that the inmate faces a

    substantial risk of serious harm and disregard that risk by failing to take reasonable measures to

    abate it. See Farmer v. Brennan, 511 U.S. 825, 834-45 (1994). Similarly, in the context of § 1983

    excessive force claims arising under the Fourth Amendment, the Supreme Court implicitly

    acknowledged the viability of a Bivens action. See Graham v. Connor, 490 U.S. 386, 394 n.9

    (1989) (in articulating the applicable standard, acknowledging that “[t]he same analysis applies to

    excessive force claims brought against federal law enforcement and correctional officials under

    [Bivens].”).

           Third, although the court is mindful of the concerns regarding the separation of powers

    articulated by the Supreme Court in extending Bivens remedies to new contexts, see Hernandez,

    140 S. Ct. at 742 (discussing the development of Bivens jurisprudence and reluctance to create

    new causes of action), this court disagrees with Defendants’ suggestion that divergent legal

    theories or factual scenarios create a meaningful difference between Mr. Mohamed’s excessive

    force claims and the deliberate indifference claim in Carlson. Cf. Jacobs v. Alam, 915 F.3d at

    1038. As with Carlson, Mr. Mohamed’s excessive force claim arises under the Eighth Amendment



                                                    28
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 29 of 79




    Cruel and Unusual Punishment Clause, Estate of Booker v. Gomez, 745 F.3d 405, 419 (10th Cir.

    2014), which places strict scrutiny on an inmate’s treatment and conditions of confinement and

    not only requires the provision of adequate medical treatment, but also prohibits the use of

    excessive force. Contreras on behalf of A.L. v. Dona Ana Cty. Bd. of Cty. Comm’rs, 965 F.3d

    1114, 1116-17 (10th Cir. 2020) (Tymkovich, J., concurring). Under either theory of a violation of

    the Eighth Amendment’s prohibition of cruel and unusual punishment—deliberate indifference or

    excessive force—an inmate must establish both an objective and subjective component. See

    Redmond v. Crowther, 882 F.3d 927, 936 (10th Cir. 2018) (outlining the two prongs of an

    excessive force claim as requiring a showing that the force “was objectively harmful enough to

    establish a constitutional violation” and done so “maliciously and sadistically for the very purpose

    of causing harm[.]”); Wilson v. Falk, 877 F.3d 1204, 1209 (10th Cir. 2017) (outlining the two

    prongs of a deliberate indifference claim as requiring a showing the defendant was “subjectively

    aware” of an objectively serious medical need and “recklessly disregarded that risk.”). Thus, as

    with Carlson, Mr. Mohamed’s excessive force claim seeks damages based on the Eighth

    Amendment’s proscription of prisoner mistreatment while within the custody of federal actors.

    See Reid v. United States, 825 F. App’x 442, 444 (9th Cir. 2020) (unpublished) (finding no

    meaningful difference between Carlson and the plaintiff’s excessive force claim in concluding that

    Bivens includes an implied right of action for Eighth Amendment excessive force violations).

           Nor does this court interpret Ziglar as precluding “run-of-the-mill challenges to ‘standard

    law enforcement operations’ that fall well within Bivens itself.” Jacobs, 915 F.3d at 1038; cf.

    Bueno Diaz v. Mercurio, 442 F. Supp. 3d 701, 708 (S.D.N.Y. 2020) (concluding that the plaintiff’s

    Fourth Amendment excessive force claim did not arise in a “new context” because it was a basic

    challenge to standard law enforcement operations and there existed substantial judicial guidance



                                                    29
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 30 of 79




    regarding the unconstitutionality of excessive force). Indeed, “[a] claim for damages based on

    individualized mistreatment by rank-and-file federal officers is exactly what Bivens was meant to

    address,” and recognizing an implied Bivens remedy for Eighth Amendment excessive force

    claims “will not require courts to plow new ground because there is extensive case law establishing

    conditions of confinement claims and the standard for circumstances that constitute cruel and

    unusual punishment.” Reid, 825 F. App’x at 444-45; accord Ullery v. Bradley, 949 F.3d 1282,

    1290 (10th Cir. 2020) (“The unnecessary and wanton infliction of pain constitutes cruel and

    unusual punishment forbidden by the Eighth Amendment;” “among unnecessary and wanton

    inflictions of pain are those that are totally without penological justification.” (internal quotations

    omitted)).

            With this understanding, the court finds no meaningful difference between the deliberate

    indifference claim raised in Carlson and Mr. Mohamed’s excessive force claims, which all arise

    under the Eighth Amendment. Notably, the Tenth Circuit has permitted an Eighth Amendment

    conditions-of-confinement claim to proceed under Bivens. See Smith v. United States, 561 F.3d

    1090, 1103 (10th Cir. 2009); see also Peraza v. Martinez, No. 14-cv-03056-MJW, 2017 WL

    11486456, at *4 (D. Colo. Nov. 29, 2017) (“Eighth Amendment Bivens claims have long been

    recognized by the Tenth Circuit.”) (citing Smith, 561 F.3d 1090; Big Cats, 843 F.3d at 860). In

    addition, it appears that the Tenth Circuit has recognized, at least implicitly, the extension of Bivens

    to a claim of excessive force arising in the Fourth Amendment context. See, e.g., Holland, 268

    F.3d at 1195; Serrano v. United States, 766 F. App’x 561, 565-70 (10th Cir. 2019) (considering

    whether qualified immunity shielded a deputy United States Marshal from liability on the

    plaintiff’s Fourth Amendment excessive force claim brought pursuant to Bivens); Thomas v.




                                                      30
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 31 of 79




    Durastanti, 607 F.3d 655, 663 (10th Cir. 2010) (considering Bivens excessive force claim arising

    under the Fourth Amendment against federal agents).

           “The Eighth Amendment protects against the imposition of cruel and usual punishment on

    a prisoner. That the cruel and unusual punishment takes the form of an allegedly brutal assault by

    a correctional officer on an inmate rather than another form of punishment should make no

    difference in the inmate’s right to seek redress.” Smith, 2021 WL 1608829, at *2. Indeed, to find

    that Mr. Mohamed cannot seek redress for the alleged constitutional violations here would allow

    individual federal officials to escape liability for the alleged unconstitutional use of force so long

    as officials provide adequate medical care afterwards—even with dire consequences. This court

    is not convinced that the Supreme Court, in cautioning against extending Bivens remedies to new

    contexts, intended for such a result. Accordingly, I find that the circumstances presented in the

    instant case do not present a new context for purposes of the Bivens analysis.

                 2.     Special Factors

           Even if Mr. Mohamed’s excessive force claim arose in a new context, the court finds no

    special factors counseling against extending a Bivens remedy here. Defendants assert that special

    factors weigh against recognizing a Bivens remedy for an Eighth Amendment excessive-force

    claim because (1) Mr. Mohamed has alternative processes available to seek redress in the form of

    the BOP’s administrative grievance procedure, the FTCA, a suit for injunctive relief, or a suit

    under the mandamus statute, see 28 U.S.C. § 1361; and (2) separation-of-powers principles should

    preclude a Bivens remedy. [Doc. 71 at 7-8]. I respectfully disagree.

           First, the court is not convinced that the BOP’s administrative grievance program provides

    a remedy amounting to “more than nothing.” Big Cats, 843 F.3d at 863. Plaintiff has alleged that

    he was beaten by BOP officials, and “[t]he administrative grievance process is not an alternative



                                                     31
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 32 of 79




    because it does not redress [Mr. Mohamed’s] harm, which could only be remedied by money

    damages.” Bistrian, 912 F.3d at 92. Indeed, similar to Bivens, when it comes to relief arising out

    of the alleged violation of Plaintiff’s right to be free from excessive force, “it is damages or

    nothing.” Bivens, 403 U.S. at 410 (Harlan, J., concurring). While Defendants state that Plaintiff

    “can seek a remedy under the prison grievance system,” they fail to identify what remedy Mr.

    Mohamed could obtain through the grievance process which would actually address the past

    alleged constitutional violation. [Doc. 71 at 7]; cf. Big Cats, 843 F.3d at 862 (finding no alternative

    remedy where alleged remedy would not address the alleged constitutional violation).

           Second, the court is not persuaded by Defendants’ argument that the FTCA provides an

    adequate alternative remedy to preclude a Bivens claim here.        See [Doc. 71 at 7]. The FTCA

    provides a federal cause of action against the United States for torts arising under state law and

    requires courts to apply the substantive law of the state where the event occurred. 28 U.S.C.

    § 1346(b)(1). As the Tenth Circuit has explained, the Supreme Court in Carlson held that the

    FTCA did not preclude a Bivens claim because the FTCA imposes liability on the United States,

    not individual federal actors, and thus does not have the same deterrent effect as a Bivens remedy.

    Smith, 561 F.3d at 1101. This is because a Bivens claim allows for the possibility of punitive

    damages and a jury trial—neither of which is available under the FTCA. See id. Stated another

    way, the Supreme Court has said it is “crystal clear that Congress intended the FTCA and Bivens

    to serve as parallel and complementary sources of liability.” Corr. Servs. Corp. v. Malesko, 534

    U.S. 61, 68 (2001).

           Third, while Defendants assert that Plaintiff can “seek injunctive relief,” suggesting that

    this avenue could “prevent[] entities from acting unconstitutionally,” and can “invoke the

    mandamus statute to [compel Defendants] to address [Plaintiff’s] alleged injuries,” see [Doc. 71



                                                      32
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 33 of 79




    at 8], the court is again not convinced that these vehicles would provide any actual relief to Plaintiff

    with respect to the alleged harms arising out of the alleged Eighth Amendment violation.

    Prospective injunctive relief will simply not remedy the alleged harms previously inflicted on

    Plaintiff. Cf. Bistrian, 912 F.3d at 92 (finding that a habeas petition would not address harms

    arising out of physical attack “because it too gives no retrospective relief”). Moreover, while

    Defendants assert that the mandamus statute would permit Plaintiff to compel Defendants to

    “address his . . . injuries,” the court is respectfully unable to ascertain how compelling Defendants

    to “address” Plaintiff’s injuries would provide any actual relief to Plaintiff. As previously stated,

    “[w]hile there is no need for congruent remedies or even money damages to deny a Bivens remedy,

    there must be more than nothing.” Big Cats, 843 F.3d at 862–63. While the court acknowledges

    that an alternative remedy need not be successful in order to be available, the court does find that

    an alternative remedy must provide some potential for relief in order to be “available.” See id. In

    sum, the court finds that Defendants have not identified any alternative remedies that would

    counsel hesitation in extending a Bivens remedy to Mr. Mohamed’s excessive force claims. Cf.

    Reid, 825 F. App’x at 445 (finding no special factors weighed against a Bivens remedy for the

    plaintiff’s Eighth Amendment excessive force claim because the defendant failed to identify other

    alternative remedies). 9

           Additionally, this court is not convinced that extending a Bivens remedy to Mr. Mohamed’s

    excessive force claims would interfere with the BOP’s operation of its federal prisons. To be sure,

    courts are “mindful of the primary management role of prison officials who should be free from



    9
     While Defendants cite non-binding cases reaching opposite conclusions, see [Doc. 71 at 7-8], the
    court respectfully declines to rely on these cases given the Tenth Circuit’s directive that an
    alternative remedy must provide some sort of potential redress for the alleged constitutional
    violation. See Big Cats, 843 F.3d at 862–63.

                                                      33
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 34 of 79




    second-guessing or micro-management from the federal courts.” Est. of DiMarco v. Wyo. Dep’t

    of Corr., Div. of Prisons, 473 F.3d 1334, 1342 (10th Cir. 2007). But Mr. Mohamed’s claims

    concern the conduct of individual federal actors—something Bivens set out to address. Reid, 825

    F. App’x at 444-45 (“A claim for damages based on individualized mistreatment by rank-and-file

    federal officers is exactly what Bivens was meant to address”); cf. Smith, 561 F.3d at 1101

    (explaining that the FTCA is not an adequate alternative remedy to a Bivens claim because the

    FTCA lacks the same deterrent on an individual federal actor as Bivens). Indeed, Mr. Mohamed

    seeks redress from Defendants Brush, Miller, and Espinoza in their individual capacities, and such

    cases, “due to their very nature[,] are difficult to address except by way of damages actions after

    the fact.” Ziglar, 137 S. Ct. at 1862 (categorizing such cases as “damages or nothing”).

           Moreover, the court cannot conclude that the alleged unconstitutional use of excessive

    force—the basis of Mr. Mohamed’s claims—could readily be deemed part of the proper

    functioning of BOP facilities. See Cuevas v. United States, No. 16-cv-00299-MSK-KMT, 2018

    WL 1399910, at *4 (D. Colo. Mar. 19, 2018) (where there was there “law clearly establishing that

    the [challenged conduct] is unconstitutional,” finding “no risk that this litigation will tread on

    complex matters of BOP policymaking.”); cf. Williams v. Baker, 487 F. Supp. 3d 918, 925 (E.D.

    Cal. 2020) (finding no risk of interference in operation of prisons where “few legitimate objectives

    could be served by resisting deterrents to the alleged behavior.”); Sutter v. United States, No.

    CV17-07245-SVW (DFM), 2019 WL 1841905, at *7 (C.D. Cal. Mar. 12, 2019) (“[E]xcessive

    force is a ‘quintessential civil rights claim’ that involves an individual instance of misconduct.”);

    Reid, 825 F. App’x at 445 (“[W]e conclude that allowing Reid’s [excessive-force] claims to

    proceed would not result in inappropriate judicial intrusion into [BOP] policy.”).           Indeed,

    Defendants do not argue that these claims implicate any official BOP policy or necessary practice.



                                                     34
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 35 of 79




    See generally [Doc. 71]; see also Williams, 487 F. Supp. 3d at 925 (finding “no reason to hesitate”

    where the plaintiff “challenge[d] no policy, nor even a pattern of behavior that could be construed

    as a policy” and the “defendant identifie[d] no policy put at risk.”).

           Ultimately, Mr. Mohamed’s excessive force claims are not the sort which implicate

    important BOP policies that counsel against extending a Bivens remedy. Cf. Ziglar, 137 S. Ct. at

    1860-62 (declining to extend a Bivens remedy where the plaintiffs sought to challenge the

    implementation of an executive policy regarding the confinement of inmates deemed a national

    security risk, because doing so raises the possibility of judicial interference into “matters

    committed to the other branches.”). 10 For all of these reasons, this court concludes that an implied

    right arising under the Eighth Amendment for excessive force claims is appropriate under Bivens.

           D.      Eighth Amendment Failure-to-Intervene Claims – Claims Two, Four, and Six

           Finally, Defendants argue that Plaintiff’s failure-to-intervene claims should be dismissed

    for lack of a Bivens remedy. In so doing, they raise the same arguments directed to the excessive

    force claims, asserting that these claims present a new Bivens context and that special factors—

    including the availability of alternative remedies—counsel against recognizing a Bivens claim.

    See [Doc. 71 at 6-8].

                 1.     New Context

           First, Defendants argue that “allegations that officers failed to intervene to stop the use of

    force after an inmate stopped unexpectedly at his cell differ in meaningful ways from Bivens,

    Carlson, and Green,” and for this reason, this case presents a new Bivens context. [Doc. 71 at 7].



    10
      In contrast to Plaintiff’s First Amendment claim, where the confiscation of an inmate’s materials
    may, in some circumstances, be for appropriate penological or safety purposes, the court cannot
    conclude that the alleged prolonged beating of a restrained, non-resisting inmate carries similar
    legitimate purposes.

                                                     35
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 36 of 79




           In Farmer, the Supreme Court recognized that the Constitution does not permit inhumane

    prison conditions, holding that the Eighth Amendment’s prohibition on cruel and unusual

    punishments imposes a duty on prison officials to “provide humane conditions of confinement,”

    “ensure that inmates receive adequate food, clothing, shelter, and medical care,” “take reasonable

    measures to guarantee the safety of the inmates,” and “protect prisoners from violence at the hands

    of other prisoners.” 511 U.S. at 832 (quoting Hudson v. Palmer, 468 U.S. 517, 526-27 (1984);

    Cortes-Quinones v. Jiminez-Nettleship, 842 F.2d 556, 558 (1988)). Thus, a failure to intervene is

    one of several factual theories under which an Eighth Amendment claim may be brought. See

    Hooks v. Bethany Police Dep’t, No. CIV-17-658-M, 2018 WL 11266782, at *6 (W.D. Okla. Mar.

    19, 2018), report and recommendation adopted, 2018 WL 11266754 (W.D. Okla. Apr. 16, 2018)

    (“The law is well established that failure to intervene in an inmate assault may sustain an Eighth

    Amendment failure to protect claim.”); cf. Fogarty v. Gallegos, 523 F.3d 1147, 1165 (10th Cir.

    2008) (a plaintiff need not plead a separate failure-to-intervene claim where the allegations are

    sufficiently clear to put the defendant on notice that the alleged constitutional violations were at

    least partly predicated on alleged failure to intervene). Courts similarly recognize that claimants

    may bring an Eighth Amendment excessive force claim based on a failure to protect the claimant

    from the violence of other inmates. See, e.g., Pollis v. Bd. of Chosen Freeholders of Cty. of Sussex,

    523 F. App’x 187, 189 (3d Cir. 2013).

           In Bistrian, the Third Circuit concluded that “an inmate’s claim that prison officials

    violated his Fifth Amendment rights by failing to protect him against a known risk of substantial

    harm does not present a new Bivens context.” 912 F.3d at 90. In so ruling, the Third Circuit relied

    on Farmer, noting that although the Farmer Court “did not explicitly state that it was recognizing

    a Bivens claim, it not only vacated the grant of summary judgment in favor of the prison officials



                                                     36
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 37 of 79




    but also discussed at length ‘deliberate indifference’ as the legal standard to assess a Bivens claim,

    the standard by which all subsequent prisoner safety claims have been assessed.” Id. at 90-91

    (citing Farmer, 511 U.S. at 832-49). Moreover, the Third Circuit found that, while Ziglar did not

    specifically identify Farmer as recognizing a Bivens cause of action, it would be improper to

    conclude that the Supreme Court overruled earlier precedent by implication, finding that the lack

    of direct reference to Farmer may be because “the Court simply viewed the failure-to-protect claim

    as not distinct from the Eighth Amendment deliberate indifference claim in the medical context.”

    Id. at 91.

            Other courts have similarly concluded, based on Farmer and Carlson, that a failure-to-

    protect claim did not present a new Bivens context. See, e.g., Doty v. Hollingsworth, No. CV 15-

    3016 (NLH), 2018 WL 1509082, at *3 (D.N.J. Mar. 27, 2018) (“The claim in Carlson involved

    deliberate indifference to a prisoner’s medical needs, and the claim here involves deliberate

    indifference to a prisoner’s safety, both of which use the same sort of deliberate indifference

    analysis and both of which arise under the Eighth Amendment’s Cruel and Unusual Punishment

    Clause.”); Shorter v. United States, 12 F.4th 366, 373 (3d Cir. 2021) (finding no meaningful

    difference between Farmer and the Shorter case, wherein plaintiff alleged a failure to protect from

    inmate violence, and holding that the case did not present a new Bivens context); Shaw v.

    Humphries, No. 20-cv-00327-RBJ-KMT, 2021 WL 4149626, at *5 (D. Colo. Sept. 13, 2021) (“I

    find that the duty of ADX staff with respect to protection of inmates from assaults by other inmates

    does not differ in a meaningful way from [Farmer].”); Smith v. Shartle, No. CV-18-00323-TUC-

    RCC, 2021 WL 842144, at *8 (D. Ariz. Mar. 5, 2021) (“Both Carlson and Farmer involved direct

    Eighth Amendment allegations against individual prison officials for their specific actions failing

    to protect an inmate from an ongoing safety threat. In Farmer, that threat specifically came from



                                                     37
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 38 of 79




    fellow inmates. The Court believes Plaintiffs’ [failure-to-protect] allegations in this case are

    equivalent.”).

           The court finds these cases persuasive in the context of Mr. Mohamed’s Eighth

    Amendment claim based on a failure to intervene. Notably, “[a] failure to intervene claim is

    essentially the same as a failure to protect claim, translated from a threat to an active situation.”

    Meskauskas v. Cowan, No. 18-cv-1446-DWD, 2021 WL 2075863, at *4 (S.D. Ill. May 24, 2021).

    Indeed, the theories are readily interchangeable, generally differing only based on the source of

    the excessive force (i.e., other inmates or prison officials). See, e.g., Harris v. City of New York,

    No. 16-CV-1214 (PKC)(JO), 2018 WL 4471631, at *9 n.16 (E.D.N.Y. Sept. 18, 2018) (“Although

    Plaintiff pleads failure to intervene and failure to protect as separate causes of action, the Court

    construes them to be identical.”); Miller v. Boone, No. 16-cv-00585-SMY, 2016 WL 4501818, at

    *2 (S.D. Ill. Aug. 29, 2016) (“The same legal standard applies to failure to protect and failure to

    intervene claims.”).

           The court sees no material distinction between the failure to protect an inmate from

    violence at the hands of another inmate and the failure to intervene in violence at the hands of a

    correctional officer for purposes of Bivens. Both theories involve a prison official’s alleged failure

    to “provide humane conditions of confinement,” “take reasonable measures to guarantee the safety

    of the inmates,” and “protect prisoners from violence.” Farmer, 511 U.S. at 832. As set forth

    above, in Farmer, the Supreme Court discussed the standard for an Eighth Amendment claim

    based on a failure to intervene in the context of Bivens, stating that a “prison official cannot be

    found liable under the Eighth Amendment for denying an inmate humane conditions of

    confinement unless the official knows of and disregards an excessive risk to inmate health or

    safety; the official must both be aware of facts from which the inference could be drawn that a



                                                     38
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 39 of 79




    substantial risk of serious harm exists, and he must also draw the inference.” 511 U.S. at 837. A

    number of courts, even post-Ziglar, recognize Farmer as identifying an established Bivens context.

    See, e.g., Bistrian, 912 F.3d at 90-91; Garraway v. Cuifo, No. 1:17-cv-00533-DAD-GSA (PC),

    2020 WL 860028, at *2 (E.D. Cal. Feb. 21, 2020) (“Though the majority in Abbasi did not

    acknowledge that the Court had explicitly ‘approved of an implied damages remedy’ in Farmer,

    neither did it reject that it had recognized the availability of a Bivens remedy in the context

    presented by Farmer.”); Walker v. Schult, 463 F. Supp. 3d 323, 330 (N.D.N.Y. 2020) (“This Court

    is not empowered to presume that simply because Abbasi does not reference Farmer that the case

    has been somehow impliedly overruled.”).

           At bottom, Mr. Mohamed alleges that his right to be free from cruel and unusual

    punishment was violated when Defendants Armijo, Murton, and Osagie failed to intervene when

    they witnessed other prison officials beating Plaintiff. For the reasons set forth above, the court

    does not find a meaningful difference between this Eighth Amendment claim and the one asserted

    in Carlson, which each challenge allegedly unconstitutional conditions of confinement. For all of

    these reasons, the court finds that the Eighth Amendment claims asserted on a failure-to-intervene

    theory do not present a due Bivens context.

                 2.     Special Factors

           Notwithstanding the above conclusion, the court further concludes that even if the Eighth

    Amendment claims presented a new context, there are no special factors counseling against

    extending a Bivens remedy. As stated above, Defendants’ Bivens-related arguments are identical

    with respect to all of Mr. Mohamed’s Eighth Amendment claims, see [Doc. 71 at 6-8], and thus,

    as detailed above, Defendants argue that special factors caution hesitating in finding a Bivens

    remedy because (1) Plaintiff has alternative remedies in the form of the prison grievance system,



                                                    39
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 40 of 79




    the FTCA, a claim for injunctive relief, or the mandamus statute, [id. at 7-8]; and (2) additional

    special factors counsel against a Bivens remedy, namely, separation-of-powers principles and the

    threat of interference with the proper functioning of BOP facilities. [Id. at 4-5, 7-8].

           The court has addressed these arguments above and finds them equally applicable here: the

    alternative remedies proposed by Defendants providing prospective injunctive relief would not

    actually provide any sort of relief to Mr. Mohamed for the alleged past harms inflicted upon him.

    See Big Cats, 843 F.3d at 862-63. Moreover, a challenge to the allegedly unconstitutional failure

    to intervene does not create a “risk that this litigation will tread on complex matters of BOP

    policymaking.” Cuevas, 2018 WL 1399910, at *4; Reid, 825 F. App’x at 445. For these reasons,

    the court finds that special factors do not caution against a Bivens remedy here, and concludes that

    a Bivens right exists for Mr. Mohamed’s Eighth Amendment claims under this theory.

    III.   Qualified Immunity

           In the alternative, Defendants argue that Defendant Osagie is entitled to qualified immunity

    on the Eighth Amendment claim based on a failure to intervene (Claim Six) and Defendants Jones,

    Huddleston, and Osagie are entitled to qualified immunity on the Eighth Amendment deliberate-

    indifference claims (Claims Eight, Nine, and Ten). [Doc. 71 at 8, 10, 12]. 11


    11
       Defendants do not appear to argue that qualified immunity applies to any Eighth Amendment
    claim based on excessive force should a Bivens remedy be recognized. See generally [Doc. 71].
    But Defendants do argue that Defendant Brush is entitled to qualified immunity on Claim Seven,
    Plaintiff’s First Amendment claim. See [id. at 8]. The court does not address this argument in
    detail, as qualified immunity applies only to individual-capacity claims seeking money damages,
    see Bowman, 2020 WL 6390992, at *8, and the court has already concluded that Mr. Mohamed
    does not have a viable Bivens claim against Defendant Brush with respect to his request for
    damages against Defendant Brush in his individual capacity. See supra Section II.B. The court
    has addressed the sufficiency of Plaintiff’s allegations with respect to stating a claim for a
    constitutional violation, see infra Section IV.B. If the presiding judge disagrees with this
    Recommendation with respect to a Bivens remedy for the alleged First Amendment violation, this
    court is prepared to issue a supplemental Recommendation addressing the second prong of the
    qualified immunity analysis.

                                                     40
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 41 of 79




           The doctrine of qualified immunity protects government officials from individual liability

    for actions carried out while performing their official duties so long as their conduct does not

    violate clearly established constitutional or statutory rights. Washington v. Unified Gov’t of

    Wyandotte Cty., 847 F.3d 1192, 1197 (10th Cir. 2017). To facilitate the efficient administration

    of public services, the doctrine functions to protect government officials performing discretionary

    actions and acts as a “shield from liability for civil damages insofar as their conduct does not

    violate clearly established statutory or constitutional rights of which a reasonable person would

    have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Once a defendant has asserted a

    defense of qualified immunity, the burden shifts to the plaintiff who must establish that “(1) the

    public official violated the plaintiff’s constitutional rights; and (2) these rights were clearly

    established at the time of the alleged violation.” Big Cats, 843 F.3d at 864.

           A right is clearly established if there is a Supreme Court or Tenth Circuit decision on point

    or if the weight of authority in other courts provides that the right is clearly established.

    Washington, 847 F.3d at 1197 (quoting Thomas v. Kaven, 765 F.3d 1183, 1194 (10th Cir. 2014)

    (internal quotation marks omitted)); DeSpain v. Uphoff, 264 F.3d 965, 979 (10th Cir. 2001). The

    Second Amended Complaint need not contain all the necessary factual allegations to sustain a

    conclusion that Defendants violated clearly established law. See Robbins, 519 F.3d at 1249

    (recognizing that a heightened pleading standard is not required). Rather, Plaintiff must satisfy

    only the minimum pleading requirements articulated in Twombly and discussed above. Id.

           A.      Eighth Amendment Failure to Intervene – Claim Six

           With respect to the application of qualified immunity to Claim Six, Defendants first assert

    that Mr. Mohamed has failed to allege Defendant Osagie’s personal participation in any failure to

    intervene—which the court construes as an assertion that Mr. Mohamed cannot plead facts



                                                    41
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 42 of 79




    sufficient to establish the first prong of the qualified-immunity analysis, i.e., the existence of a

    constitutional violation as to him, “[b]ecause vicarious liability is inapplicable to Bivens [] suits,

    [so] a plaintiff must plead that each Government-official defendant, through the official’s own

    individual actions, has violated the Constitution.” Iqbal, 556 U.S. at 676. [Doc. 71 at 10-11]. In

    the alternative, Defendants contend that even if there was a constitutional violation, Mr.

    Mohamed’s “conclusory allegations do not plausibly suggest that [Defendant] Osagie had ‘fair

    and clear warning’ that a failure to intervene in a constitutional violation that he did not personally

    observe would violate Plaintiff’s constitutional rights.” [Id. at 11]. The court addresses these

    arguments in turn.

                 1.      Personal Participation

           “In this Circuit, an officer can be liable for a failure to intervene when he (1) observed a

    constitutional violation and (2) had a realistic opportunity to intervene.” Mullins v. City of Colo.

    Springs, No. 21-cv-00589-WJM-KMT, --- F. Supp. 3d. ----, 2021 WL 5919201, at *8 (D. Colo.

    Dec. 15, 2021) (citing Jones v. Norton, 809 F.3d 564, 576 (10th Cir. 2015)). Defendants argue

    that Plaintiff’s allegations are insufficient to allege that Defendant Osagie participated in a

    constitutional violation as an observer. [Doc. 71 at 11]. Namely, Defendants assert that, beyond

    Mr. Mohamed alleging that he heard Defendant Osagie asking if Mr. Mohamed was still resisting,

    and that Plaintiff called out to Defendant Osagie but received no response, Mr. Mohamed states

    no non-conclusory allegations that plausibly allege Defendant Osagie actually observed any

    constitutional violation. [Id. at 10-11]. According to Defendants, “all that can plausibly be

    inferred is that [Defendant] Osagie was standing near the observation cell and had been told that

    Plaintiff had been resisting.” [Id. at 11].




                                                      42
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 43 of 79




           The court respectfully disagrees. Mr. Mohamed alleges that Defendant Osagie “witnessed

    the beatings against [him] and chose not to stop them.” [Doc. 64 at ¶ 76]. Plaintiff alleges that

    during the physical attack, he heard Defendant Osagie, “very close to where [he] was being

    beaten,” asking whether Plaintiff was still resisting. [Id.]. Mr. Mohamed states that he has known

    Defendant Osagie since 2002 and “his voice and accent are obviously identifiable to” Plaintiff.

    [Id. at ¶ 79]. Additionally, Plaintiff asserts that while he was being beaten in the observation cell,

    he was situated on a concrete bed that was “several feet high,” from which Defendant Osagie “must

    have seen [Plaintiff] and the beatings very [easily] and without any efforts.” [Id. at ¶ 78].

           Construing these allegations liberally and in favor of Plaintiff, the court finds these

    allegations sufficient, at the pleading stage, to allege that Defendant Osagie observed the alleged

    constitutional violation in such a manner that he personally failed to intervene. While Mr.

    Mohamed does not specifically state that he saw Defendant Osagie witnessing the attack, he asserts

    that certain officers pushed his head and upper body down so as to prevent him from identifying

    who was on the scene. See [Doc. 64 at ¶ 39 (“When I was on the ground and then in the following

    beatings, to the end of the beatings in the observation cell . . ., the officers always forced my upper

    body and head down. . .”) (emphasis added). Cf. Bark v. Chacon, No. 10-cv-1570-WYD-MJW,

    2011 WL 1884691, at *5 (D. Colo. May 18, 2011) (holding that, in certain circumstances where a

    plaintiff alleges that the individual defendants all participated in a single incident and acted in

    concert together, it would be inequitable to require a plaintiff to articulate which specific defendant

    committed which specific act during the incident in question).

           Moreover, the Tenth Circuit has instructed that an official may be liable for a failure to

    intervene where the official “observes or has reason to know” that a constitutional violation is

    being committed and fails to intercede. Vondrak v. City of Las Cruces, 535 F.3d 1198, 1210 (10th



                                                      43
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 44 of 79




    Cir. 2008) (emphasis added) (quoting Anderson v. Branen, 17 F.3d 552, 557 (2d Cir. 1994)). Here,

    Mr. Mohamed alleges that, while Defendant Osagie was “very close” to the cell, Mr. Mohamed

    called out to Defendant Osagie that he was not resisting, had never resisted, and asked if Defendant

    Osagie could see how he was being beaten. [Doc. 64 at ¶¶ 76-78]. Thus, even if the allegations

    do not show that Defendant Osagie conclusively saw Mr. Mohamed being beaten, the Second

    Amended Complaint nevertheless alleges that Defendant Osagie was present at the scene and had

    reason to know that a constitutional violation was occurring. See Reid v. Wren, 57 F.3d 1081 (10th

    Cir. 1995) (“These two officers were present and heard the conversation between plaintiff and

    Wade; yet they did not act to stop the allegedly unconstitutional action.”) (emphasis added);

    Pittman v. King, No. 20-cv-03371-PAB-NRN, 2021 WL 2514629, at *7 (D. Colo. June 17, 2021),

    report and recommendation adopted, No. 20-cv-03371-RMR-NRN, ECF No. 68 (D. Colo. Jan 6,

    2022) (“Here, Mr. Pittman alleges that Defendants Perez, Nixon, and Mahr were present at the

    scene, and it is plausible that they saw and heard what the officers were saying to each other and

    to Mr. Pittman.”).

           Taking these allegations as true, the court finds that a reasonable, plausible inference may

    be drawn from Plaintiff’s allegations that either Defendant Osagie observed the use of force, cf.

    Smith v. State Farm Fire and Casualty Co., No. 21-cv-00866-CMA-NYW, 2021 WL 5195326, at

    *6 (D. Colo. Nov. 9, 2021) (“[T]he Twombly plausibility standard, which applies to all civil actions

    . . . does not prevent a plaintiff from pleading facts alleged upon information and belief where . . .

    the belief is based on factual information that makes the inference of culpability plausible.”)

    (quoting Arista Records, LLC v. Doe 3, 604 F.3d 110, 119 (2nd Cir. 2010)), 12 or had reason to


    12
       The court respectfully disagrees with Defendants’ suggestion that Plaintiff’s allegations that
    Defendant Osagie was very close to the cell and, due to the relevant vantage point, “must have
    seen” the alleged constitutional violation, “is conclusory and not entitled to a presumption of
    truth.” See [Doc. 71 at 11]. Given Mr. Mohamed’s allegations that his head was being forced
                                                     44
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 45 of 79




    know of the constitutional violation but failed to intervene. Because this is the only argument

    submitted by Defendants with respect to the existence of a constitutional violation, see [Doc. 71

    at 10-11], the court turns to Defendants’ argument as to the existence of clearly established law.

                 2.     Clearly Established Law

           In the alternative, Defendants contend that Mr. Mohamed cannot show that Defendant

    Osagie violated clearly established law. In so arguing, they simply state: “Plaintiff’s conclusory

    allegations do not plausibly suggest that Osagie had ‘fair and clear warning’ that a failure to

    intervene in a constitutional violation that he did not personally observe would violate Plaintiff’s

    constitutional rights.” [Doc. 71 at 11]. But as set forth above, Mr. Mohamed has sufficiently

    alleged that Defendant Osagie personally observed the use of force against Plaintiff, who was

    restrained and not resisting, or was otherwise contemporaneously aware of the alleged excessive

    use of force against Plaintiff at the time that the force was employed. Thus, the court is respectfully

    unpersuaded by this argument.

           Because Defendants’ argument is based exclusively on their conclusion that Defendant

    Osagie “did not personally observe” the beatings—which arises from a too-narrow reading of the

    Second Amended Complaint—the court declines to address qualified immunity beyond the

    argument asserted in the First Motion to Dismiss. While the plaintiff generally bears the burden

    to satisfy the two-prong qualified immunity test once the defendant has asserted the defense, Puller

    v. Baca, 781 F.3d 1190, 1196 (10th Cir. 2015), the court cannot conclude that Defendants’ cursory

    argument, based on a factual framing rejected by the court, is sufficient to create that burden here.

    See Halik v. Darbyshire, No. 20-cv-01643-PAB-KMT, 2021 WL 4305011, at *4-*5 (D. Colo.



    down such that he could not lift his head to see who might be witnessing the attack, and because
    no discovery has been conducted in this case, the court finds that Mr. Mohamed has sufficiently
    alleged non-conclusory facts which are entitled to the presumption of truth here.

                                                      45
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 46 of 79




    Sept. 22, 2021) (explaining that the burden arises only when the qualified-immunity doctrine has

    been “adequately presented”); see also Tillmon v. Cty. of Douglas, No. 18-cv-00492-RBJ-KLM,

    2019 WL 1375678, at *12 (D. Colo. Mar. 27, 2019) (where the defendants “offer[ed] no arguments

    and no law” to support a qualified-immunity defense, declining to rule on qualified immunity

    “without any briefing from defendants”), aff’d, 817 F. App’x 586 (10th Cir. 2020) (unpublished)

    (declining to address qualified immunity on appeal because the argument was not properly

    preserved for appeal, as the “analysis of qualified immunity in [the motion to dismiss] was cursory

    at best” and “consisted of a single paragraph briefly discussing the law of qualified immunity”). I

    am respectfully not persuaded that Defendants have invoked, at this juncture, a viable qualified-

    immunity defense. I therefore RECOMMEND that the First Motion to Dismiss be DENIED

    insofar as it seeks dismissal of Claim Six. 13

           B.      Eighth Amendment Deliberate Indifference – Claims Eight, Nine, and Ten

           Next, Defendants argue that Defendants Huddleston, Jones, and Osagie are entitled to

    qualified immunity against Plaintiff’s Eighth Amendment claims alleging deliberate indifference

    to Plaintiff’s serious medical needs. [Doc. 71 at 12]. The Eighth Amendment protects against the

    government’s infliction of cruel and unusual punishment. U.S. Const. amend. VIII. “A prison

    official’s deliberate indifference to an inmate’s serious medical needs is a violation of the Eighth

    Amendment’s prohibition against cruel and unusual punishment.” Mata v. Saiz, 427 F.3d 745,

    751 (10th Cir. 2005); see also Garcia v. Salt Lake Cty., 768 F.2d 303, 307 (10th Cir. 1985)

    (“Failure to provide adequate medical care is a violation of the Eighth Amendment if it is a result

    of deliberate indifference to a prisoner’s serious medical needs.”). To establish a prison official’s



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      Defendants do not argue that Claim Six should be dismissed for failure to state a claim. See
    generally [Doc. 71].

                                                     46
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 47 of 79




    constitutional liability based on that official’s deliberate indifference, a plaintiff must satisfy both

    objective and subjective components of the deliberate-indifference test. See Sealock v. Colorado,

    218 F.3d 1205, 1209 (10th Cir. 2000). The objective component requires Plaintiff to allege

    objective facts that demonstrate that the constitutional deprivation was “sufficiently serious.”

    Mata, 427 F.3d at 751 (citing Farmer, 511 U.S. at 834). The subjective component requires

    Plaintiff to sufficiently allege Defendants’ culpable state of mind, i.e., to establish that Defendants

    Jones, Huddleston, and Osagie knew that Mr. Mohamed faced a substantial risk of harm, yet

    disregarded that risk. Estelle v. Gamble, 429 U.S. 97, 106 (1976); Oxendine v. Kaplan, 241 F.3d

    1272, 1276 (10th Cir. 2001) (quotations and citation omitted).

           Deliberate indifference requires more than mere negligence. Sealock, 218 F.3d at 1211;

    Est. of Martinez v. Taylor, 176 F. Supp. 3d 1217, 1227 (D. Colo. 2016) (comparing the subjective

    component to recklessness in criminal law, where, to act recklessly, a person must “consciously

    disregard a substantial risk of serious harm.”). Whether a defendant had the requisite knowledge

    of a substantial risk of serious harm may be inferred from circumstantial evidence, which may be

    satisfied upon a showing that the serious medical need was “obvious.” See DeSpain, 264 F.3d at

    975 (quotations and citations omitted).

           Defendants argue that with respect to each of Mr. Mohamed’s injuries, he has failed to

    sufficiently allege facts establishing an Eighth Amendment violation; specifically, they argue:

    (1) with respect to Mr. Mohamed’s broken ankle, he has failed to plead facts showing a

    subjectively culpable mental state or an objectively serious medical need; (2) with respect to the

    alleged failure to treat Mr. Mohamed’s pain, he has failed to establish the personal participation of

    the named Defendants or the requisite subjective mental stage; and (3) as to Mr. Mohamed’s wrist

    and jaw injuries, Mr. Mohamed has not alleged “an objective deprivation resulting in the denial of



                                                      47
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 48 of 79




    the ‘minimal civilized measure of life’s necessities.’” [Doc. 71 at 13-17 (quoting Farmer, 511 U.S.

    at 834)]. In addition, they assert that even if Plaintiff has sufficiently alleged a constitutional

    violation with respect to any of the above-referenced medical needs, Mr. Mohamed cannot show

    that the constitutional right at issue was clearly established at the time of the events in question.

    [Id. at 14, 16]. For these reasons, they argue that qualified immunity bars Plaintiff’s deliberate

    indifference claims. See generally [id.].

                   1.   The Violation of a Constitutional Right

           Because Defendants Jones, Huddleston, and Osagie raise a defense of qualified immunity

    with respect to Plaintiff’s deliberate indifference claims, Plaintiff must show that (1) these

    Defendants violated a constitutional right; and (2) the right was clearly established at the time of

    the violation. Puller, 781 F.3d at 1196. As set forth above, to sufficiently allege a violation of

    Mr. Mohamed’s Eighth Amendment rights, he must allege both an objective component—that the

    medical need was sufficiently serious—and a subjective component—that Defendants knew that

    Mr. Mohamed faced a substantial risk of harm, and yet disregarded that risk. Mata, 427 F.3d at

    751; Estelle, 429 U.S. at 106.

                           a. The Objective Component

           First, Defendants argue that insofar as Mr. Mohamed’s claim is based on his broken ankle,

    he has failed to allege that his medical need was sufficiently objectively serious. [Doc. 71 at 14].

    They contend that Mr. Mohamed “must allege that he suffered a serious harm as a result of any

    allegedly deficient treatment,” and because “Plaintiff received the proper casting upon discovery

    of his ankle fracture, and his ankle healed,” he cannot do so. [Id.].

           The court respectfully disagrees with Defendants’ assertion. While it is true that where a

    plaintiff asserts an Eighth Amendment claim based on a delay in treatment, the objective



                                                     48
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 49 of 79




    component may be met by showing that the delay resulted in substantial harm, see Vigil v.

    Laurence, 524 F. Supp. 3d 1120, 1128 (D. Colo. 2021), a delay in treatment is not the only potential

    basis for a deliberate indifference claim; a plaintiff may also assert such a claim based on a serious

    medical need that “has been diagnosed as a physician as mandating treatment” or is “so obvious

    that even a lay person would easily recognize the necessity for a doctor’s attention.” Sealock, 218

    F.3d at 1209. Here, Mr. Mohamed alleges in his Second Amended Complaint that when he was

    seen by Defendants after the attack, he complained that he was in excruciating pain, his ankle was

    significantly swollen, and he could not walk. [Doc. 64 at ¶ 131-32 (Defendant Jones); id. at ¶¶ 141-

    42 (Defendant Huddleston); id. at ¶¶ 151, 153 (Defendant Osagie)]. Courts have concluded that

    similar injuries to inmates constitute obvious, objectively serious medical needs. See, e.g.,

    Kirkland v. O’Brien, No. 12-cv-02083-WJM-KLM, 2014 WL 1224564, at *3 (D. Colo. Mar. 25,

    2014) (finding objective prong satisfied where the plaintiff’s “leg was injured, causing such pain

    that he was unable to walk, and was later diagnosed as a bone fracture likely to produce significant

    arthritis”); Trujillo v. Mgmt. & Training Corp., No. CV 15-00544 WJ-SMV, 2016 WL 10538651,

    at *5 (D.N.M. Apr. 15, 2016) (broken hand that was “swollen and raised” and showed “obvious

    deformity” was sufficient to create a dispute of fact as to obviousness of medical need); Escobar

    v. Reid, 668 F. Supp. 2d 1260, 1299 (D. Colo. 2009) (where the plaintiff had severely swollen legs,

    was in severe pain, and could not walk, symptoms were so obvious that a lay person could

    recognize the need for medical attention). As such, I find that Mr. Mohamed has sufficiently

    alleged an objectively serious medical need. 14



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      Defendants do not argue that Plaintiff has failed to sufficiently allege an objectively serious
    medical need with respect to the alleged failure to treat his pain. [Doc. 71 at 15 n.12].
    Additionally, due to this finding, the court declines to address Defendants’ contention that Mr.
    Mohamed’s wrist and jaw injuries do not constitute a sufficiently serious medical need.

                                                      49
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 50 of 79




                           b. The Subjective Component

           Next, Defendants assert that Mr. Mohamed has failed to allege that they were subjectively

    indifferent to Mr. Mohamed’s serious medical needs, i.e., that Defendants Jones, Huddleston, and

    Osagie knew of a substantial risk of harm to Mr. Mohamed and disregarded that risk. With respect

    to the ankle fracture, they argue that while they did not “immediately recognize[]” the fracture, “it

    was ultimately diagnosed and treated with a split, followed by a hard cast . . ., and by providing

    Plaintiff a wheelchair.” [Doc. 71 at 13]. According to Defendants, even if their medical treatment

    was sub-par, it does not amount to unconstitutional deliberate indifference. [Id.]. Further, they

    argue that Mr. Mohamed fails to allege a culpable state of mind with respect to the treatment of

    Plaintiff’s pain, asserting that Mr. Mohamed’s allegations reveal nothing more than a difference

    of opinion and that, when Mr. Mohamed ended his hunger strike—during which “pain medications

    may be legitimately refused,” see [id. at 16]—“he was able to get pain medication from the

    commissary.” [Id. at 15]. In response, Plaintiff argues that (1) Defendant Jones refused Plaintiff’s

    requests for pain medication, an x-ray, and a referral to a doctor, [Doc. 83 at 14]; (2) Defendant

    Huddleston witnessed obvious injuries but refused to provide treatment or even assess Plaintiff’s

    injuries, [id. at 15]; and (3) Defendant Osagie knew that Plaintiff was injured and in pain but

    refused to assess his injuries or “help in any way.” [Id.].

           Generally, a claimant cannot state a deliberate indifference claim solely due to a

    disagreement with the medical professional’s exercise of medical judgment. Self v. Crum, 439

    F.3d 1227, 1232 (10th Cir. 2006). Indeed, “[t]he subjective part of the [deliberate indifference]

    test is not satisfied when a physician evaluates a patient’s symptoms and provides care consistent

    with those symptoms, but still misdiagnoses the patient, . . . particularly where there is evidence

    of a good faith effort to treat and diagnose the condition.” Oakley v. Phillips, No. 15-cv-01004-



                                                     50
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 51 of 79




    CMA, 2015 WL 5728734, at *7 (D. Colo. Sept. 30, 2015). Additionally, the “negligent failure to

    provide adequate medical care, even one constituting medical malpractice, does not give rise to a

    constitutional violation.” Perkins v. Kan. Dep’t of Corr., 165 F.3d 803, 811 (10th Cir. 1999).

    However, the subjective prong may be met “if prison officials intentionally deny or delay access

    to medical care,” Redmond, 882 F.3d at 940 (brackets and quotation omitted), or where a treatment

    decision is “significantly influenced by non-medical factors.” Delker v. Maass, 843 F. Supp. 1390,

    1401 (D. Or. 1994). With this framework in mind, the court considers Mr. Mohamed’s allegations

    as to each individual Defendant.

           Defendant Huddleston. Mr. Mohamed asserts that Defendant Huddleston performed a

    medical assessment on Plaintiff related to his hunger strike symptoms after the physical attack.

    [Doc. 64 at ¶ 141]. Although Defendant Huddleston witnessed Mr. Mohamed hobbling in

    “excruciating pain” with an obviously and substantially swollen ankle, heard Mr. Mohamed’s

    complaints that he could not walk or sleep due to his pain, and received requests from Mr.

    Mohamed for pain medication, x-rays, ice, or a referral to a doctor, [id.], and knew that “force was

    used against” Plaintiff, [id. at ¶ 142], Defendant Huddleston refused to look at Plaintiff’s injuries,

    informing Plaintiff that he was only there to perform a hunger-strike assessment and that “any

    treatment for your injuries that you want, that will come . . . after you come off your [hunger

    strike]. That’s all we care about right now.” [Id. at ¶ 141 (ellipses in original)].

           The court finds that Mr. Mohamed has sufficiently alleged facts amounting to a conscious

    disregard of his serious medical needs on the part of Defendant Huddleston. To be sure, an inmate

    does not have a constitutional right to a particular course of treatment. See Callahan v. Poppell,

    471 F.3d 1155, 1160 (10th Cir. 2006). Nor is a mere disagreement with treatment enough to

    demonstrate a medical provider’s deliberate indifference, even if the rendered treatment is subpar.



                                                     51
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 52 of 79




    Lamb v. Norwood, 899 F.3d 1159, 1162 (10th Cir. 2018). But the allegations here go beyond a

    desire for a particular treatment or a disagreement with treatment. First, Plaintiff alleges that

    Defendant Huddleston knew of Mr. Mohamed’s excruciating pain and did nothing to abate it. See

    Medina v. Samuels, No. 20-cv-01443-NYW, 2020 WL 7398772, at *6 (D. Colo. Dec. 17, 2020)

    (finding allegations were sufficient to allege deliberate indifference where the inmate’s pain and

    discomfort were obvious to the defendant, but the defendant “did nothing to abate [her] continued

    complaints of pain and discomfort”); Est. of Booker, 745 F.3d at 431-32 (explaining that a

    defendant can be deliberately indifferent when the plaintiff’s symptoms reveal an obvious need

    for treatment, especially when the defendant’s training should alert her to the need for treatment);

    Al-Turki v. Robinson, 762 F.3d 1188, 1190 (10th Cir. 2014) (finding cognizable deliberate

    indifference claim based on the failure to evaluate and treat pain “for several hours”).

           Moreover, Plaintiff sufficiently alleges that the refusal to treat Plaintiff did not arise out of

    the exercise of medical opinion or judgment and, thus, raises allegations suggesting more than a

    mere disagreement in treatment. Indeed, Mr. Mohamed alleges that Defendant Huddleston’s

    refusal to treat Mr. Mohamed’s obvious pain and symptoms arose not out of the Defendant’s

    medical judgment or medical opinion, but out of an effort to induce Mr. Mohamed to cease his

    hunger strike. [Doc. 64 at ¶ 141]. For this reason, the court finds Plaintiff has alleged sufficient

    facts demonstrating Defendant Huddleston’s subjective deliberate indifference to a serious

    medical need. See Delker, 843 F. Supp. at 1401; Jackson v. Corizon Health Inc., No. 2:19-cv-

    13382-TGB, 2020 WL 3529542, at *3 (E.D. Mich. June 30, 2020) (allegations that medical

    treatment was denied for non-medical reasons were sufficiently allege deliberate indifference); cf.

    Keohane v. Fla. Dep’t of Corr. Sec’y, 952 F.3d 1257, 1266-67 (11th Cir. 2020) (“[R]esponding to

    an inmate’s acknowledged medical need with what amounts to a shoulder-shrugging refusal even



                                                      52
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 53 of 79




    to consider whether a particular course of treatment is appropriate is the very definition of

    ‘deliberate indifference.’”). 15 For this same reason, the court is respectfully unpersuaded by

    Defendants’ suggestion that, in the context of a hunger strike, the withholding of pain medication

    simply constitutes an exercise in medical judgment, see [Doc. 71 at 16]; here, Mr. Mohamed has

    sufficiently alleged that the refusal to provide pain medication was driven by non-medical

    motivations. I find that Mr. Mohamed has sufficiently alleged that Defendant Huddleston was

    subjectively deliberately indifferent to his serious medical needs.

           Defendant Jones. Mr. Mohamed alleges that after he was physically attacked, Defendant

    Jones performed a “superficial” medical assessment of his injuries. [Doc. 64 at ¶ 130]. During

    this assessment, Mr. Mohamed complained that he was in “substantial and excruciating pain all

    over [his] body, and especially [his] right ankle” and informed Defendant Jones that he believed

    his ankle was broken. [Id. at ¶ 132]. At the time, Mr. Mohamed’s right ankle was “obviously

    swollen.” [Id.]. Defendant Jones refused Mr. Mohamed’s requests for an x-ray, pain medication,

    ice, and to see a doctor or the physician’s assistant. [Id.]. According to Plaintiff, Defendant Jones

    stated, “Mohamed, you must take your trays, this would be a lot easier if you eat.” [Id. at ¶ 133].

    Plaintiff alleges that Defendant Jones “wanted to punish [him]” for his hunger strike, [id. at ¶ 136],

    and that Defendant Jones knew that he was in pain and that his ankle was swollen, that Plaintiff




    15
       For this same reason, the court is respectfully unpersuaded by Defendants’ suggestion that, in
    the context of a hunger strike, the withholding of pain medication simply constitutes an exercise
    in medical judgment, see [Doc. 71 at 16]; here, Mr. Mohamed has sufficiently alleged that the
    refusal to provide pain medication was driven by non-medical motivations. And in any event, the
    court finds this argument is better suited for summary judgment. Postawko v. Mo. Dep’t of Corr.,
    No. 2:16-cv-04219-NKL, 2017 WL 1968317, at *9 (W.D. Mo. May 11, 2017) (“[W]hether the
    medical ‘care’ Plaintiffs receive is constitutionally adequate is a merits issue and accordingly, a
    determination more appropriate for summary judgment or trial, not a motion to dismiss.”).

                                                     53
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 54 of 79




    could not sleep, pray, or walk, and yet Defendant Jones refused to provide any ice, medication, or

    an x-ray, telling Plaintiff that staff would examine him once he ate. [Id. at ¶ 137].

             For the reasons set forth above, these allegations, liberally construed, are sufficient to

    allege that Defendant Jones consciously disregarded Mr. Mohamed’s serious medical needs: with

    knowledge that Mr. Mohamed was in extreme pain and could not walk or sleep, Defendant Jones

    refused to treat Mr. Mohamed’s pain or examine him based not on medical judgment, but based

    on Plaintiff’s continued hunger strike. [Id. at ¶¶ 132, 136-37]. This is sufficient, at the pleading

    stage, to state a claim of Eighth Amendment deliberate indifference. Jackson, 2020 WL 3529542,

    at *3.

             Defendant Osagie. Finally, with respect to Defendant Osagie, Plaintiff asserts that he

    witnessed Plaintiff’s obviously and substantially swollen ankle, observed Plaintiff’s “crying-in-

    pain face,” and heard Plaintiff’s complaints of “excruciating and substantial pains [in his] ankle,

    wrists, jaws and other areas of [his] body” and that Plaintiff could not walk, pray, or sleep due to

    the pain. [Doc. 64 at ¶ 146]. But Defendant Osagie refused to look at Plaintiff’s injuries, electing

    to only perform a hunger strike assessment, telling Plaintiff that “everything will be [alright] if you

    eat.” [Id.]. In addition, Defendant Osagie denied Plaintiff’s requests for pain medication, x-rays,

    or ice “even though [Plaintiff’s] ankle . . . was almost swollen to 90% of an orange size.” [Id. at

    ¶ 149]. Because Mr. Mohamed has sufficiently alleged that Defendant Osagie refused to treat Mr.

    Mohamed’s pain for non-medical reasons, I conclude that Plaintiff has met the requirements of the

    subjective prong of a deliberate-indifference claim. Jackson, 2020 WL 3529542, at *3. 16


    16
       Defendants alternatively argue that Plaintiff has failed to plead facts showing the personal
    participation of Defendants Huddleston, Jones, or Osagie insofar as “his requests for pain
    medication were not filled by the commissary during his hunger strike” because “Plaintiff has not
    alleged that Jones, Huddleston, or Osagie were responsible for any decision to not allow him to
    obtain medication from the commissary.” [Doc. 71 at 14-15]. The court does not pass on this
    argument. Even if Defendants are correct that Mr. Mohamed’s allegations do not tie these
                                                      54
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 55 of 79




                     2.   Clearly Established Law

           In the alternative, Defendants argue that even if Mr. Mohamed has sufficiently alleged a

    constitutional violation, “[t]here is no clearly established law demonstrating that every reasonable

    officer would have known, beyond debate, that the management of Plaintiff’s complaints of pain

    amounted to a constitutional violation” and that there is “no precedent finding that prison medical

    providers violate the Constitution when they examine an inmate, order and review x-rays, and

    confer with an outside orthopedic specialist about the course of care to be administered.” [Doc.

    71 at 14, 16].

           Consideration of a qualified immunity defense includes not only whether the defendant

    violated a constitutional right, but whether that constitutional right was clearly established at the

    time of the alleged violation. Puller, 781 F.3d at 1196. “For a constitutional right to be clearly

    established, the contours of the right must be sufficiently clear that a reasonable official would

    understand that what he is doing violates that right.” Wilson v. Montano, 715 F.3d 847, 852 (10th

    Cir. 2013) (brackets, citation, and internal quotation marks omitted). The purpose of the clearly

    established prong is to establish that a prison official had sufficient notice such that he knows, or

    should know, what conduct will violate a constitutional right. See Allstate Sweeping, LLC v. Black,

    706 F.3d 1261, 1266 (10th Cir. 2012). This is a particularized, fact-specific analysis, as it presents

    an inquiry into whether a reasonable official would have known, under the then-prevailing

    conditions, that his conduct violated the plaintiff’s rights, and thus a court must take care not to

    define the right in too general of terms. Leiser v. Moore, 903 F.3d 1137, 1140 (10th Cir. 2018).

    Although a “precise factual correlation between the then-existing law and the case at hand” is not



    Defendants to the denial of commissary medication, this does not change the fact that Mr.
    Mohamed has sufficiently alleged that each of these Defendants denied him pain medication when
    directly requested by Plaintiff. [Doc. 64 at ¶¶ 132, 141, 146].

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Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 56 of 79




    necessary, Patrick v. Miller, 953 F.2d 1240, 1249 (10th Cir. 1992) (citation and internal quotation

    marks omitted), “there must be a substantial correspondence between the conduct in question and

    prior law allegedly establishing that the defendant's actions were clearly prohibited.” Duncan v.

    Gunter, 15 F.3d 989, 992 (10th Cir. 1994) (quotation omitted).

            But a plaintiff need not provide case law that is factually identical to its case if the

    constitutional violation is “obviously egregious . . . in light of prevailing constitutional principles,”

    A.M. v. Holmes, 830 F.3d 1123, 1135-36 (10th Cir. 2016), and the Tenth Circuit has noted that a

    defendant may be on notice that certain conduct violates clearly established law even in novel

    factual circumstances. See Casey v. City of Fed. Heights, 509 F.3d 1278, 1284 (10th Cir. 2007).

    At bottom, “[t]he clearly-established inquiry focuses on whether the contours of the constitutional

    right were so well-settled in the context of the particular circumstances that a ‘reasonable official

    would have understood that what he is doing violates that right.’” Est. of Carrigan v. Park Cty.

    Sherriff’s Off., 381 F. Supp. 3d 1316, 1327 (D. Colo. 2019) (quoting Messerschmidt v. Millender,

    565 U.S. 535, 546 (2012)).

            Defendants frame the relevant issue as a question of whether there is “precedent finding

    that prison medical providers violate the Constitution when they examine an inmate, order and

    review x-rays, and confer with an outside orthopedic specialist about the course of care to be

    administered” or whether “every reasonable officer would have known, beyond debate, that the

    management of Plaintiff’s complaints of pain amounted to a constitutional violation.” [Doc. 71 at

    14]. The court respectfully disagrees that such an approach is appropriate here. Accord Est. of

    Kowalski v. Shrader, No. 21-cv-00827-NYW, 2022 WL 19422, at *12 (D. Colo. Jan. 3, 2022)

    (“While the court must not define a constitutional right too generally, . . . it must also take care to

    not define the constitutional right too narrowly.”). “[O]fficials can still be on notice that their



                                                       56
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 57 of 79




    conduct violates established law even in novel factual circumstances.” Hope v. Pelzer, 536 U.S.

    730, 741 (2002). “And in some cases, ‘a general constitutional rule already identified in the

    decisional law may apply with obvious clarity to the specific conduct in question, even though the

    very action in question has not previously been held unlawful.’” Stewart, 701 F.3d at 1330

    (quoting United States v. Lanier, 520 U.S. 259, 271 (1997)).

           In Al-Turki, 762 F.3d 1188, the Tenth Circuit addressed a similar argument to the one raised

    by Defendants here. In that case, the defendant argued that it was not clearly established that her

    decision to ignore the plaintiff’s complaints of pain could amount to a constitutional violation

    because “previous Tenth Circuit cases upholding deliberate indifference claims all involved longer

    periods of pain and more serious underlying health conditions than the five hours of pain”

    experienced by the plaintiff. Id. at 1194. The Tenth Circuit rejected this argument. Specifically,

    it concluded: “A medical professional may not ignore an inmate’s complaints of severe pain and

    then escape liability because later-discovered facts about the actual cause and ultimate duration of

    the inmate’s pain, while serious enough to give rise to an Eighth Amendment claim, do not

    precisely correspond with the facts of previous Tenth Circuit cases.” Id. at 1194-95. Similarly

    here, at this juncture, Defendants Jones, Huddleston, and Osagie cannot escape liability for their

    failure to treat Plaintiff’s pain because he was eventually given pain medication and because they

    eventually treated Plaintiff’s ankle fracture. See id. at 1195 (“Taking the facts in the light most

    favorable to Plaintiff, Defendant violated clearly established law by choosing to ignore Plaintiff’s

    repeated complaints of severe abdominal pain and requests for medical assistance.”).

           Tenth Circuit case law consistently instructs that “when [an inmate] has obvious and

    serious medical needs, ignoring those needs necessarily violates the [inmate’s] constitutional

    rights.” Quintana v. Santa Fe Cty. Bd. of Comm’rs, 973 F.3d 1022, 1033 (10th Cir. 2020); see



                                                    57
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 58 of 79




    also Vigil v. Raemish, No. 18-cv-01499-WJM-NRN, 2019 WL 1429281, at *7 (D. Colo. Mar. 29,

    2019), report and recommendation accepted, ECF No. 65 (“It cannot be questioned that the

    government has an obligation to provide medical care for the incarcerated.”). These constitutional

    principles have been clearly established in the Tenth Circuit for quite some time. See, e.g., Al-

    Turki, 763 F.3d at 1195; Patterson v. Santini, No. 11-cv-01899-RM-KLM, 2016 WL 11642452,

    at *5 (D. Colo. Nov. 28, 2016) (“[In 2012] it was clearly established that a prison official’s decision

    to ignore a prisoner’s repeated complaints of severe pain, or requests for medical treatment, meet

    this [unconstitutional] threshold.”); cf. Savage v. Troutt, No. CIV-15-670-HE, 2016 WL 8711398,

    at *9 (W.D. Okla. Aug. 12, 2016), report and recommendation adopted as modified, 2016 WL

    5107068 (W.D. Okla. Sept. 20, 2016), aff’d, 780 F. App’x 574 (10th Cir. 2019) (“In 2015, any

    reasonable prison doctor in this circuit would have known that he could not simply ignore

    Plaintiff’s repeated complaints of severe, persistent constipation and abdominal pain, particularly

    when those complaints were supposed by a specialist’s recommendations.”); cf. Est. of Booker,

    745 F.3d at 433 (holding that the “right to timely medical care” was clearly established in 2010).

           In light of the robust case law establishing that the denial of treatment to an inmate with an

    obviously serious medical need may violate that inmate’s constitutional rights, the court finds that

    it was clearly established in 2018—the year in which the relevant conduct allegedly occurred—

    that the denial of medical treatment to Plaintiff in an effort to induce him to end his hunger strike

    may violate his clearly established rights. Accordingly, the court finds that qualified immunity

    does not bar Plaintiff’s Claims Eight, Nine, and Ten and thus, respectfully RECOMMENDS that

    the First Motion to Dismiss be DENIED as to these claims brought against the Defendants in their

    respective individual capacities.




                                                      58
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 59 of 79




    IV.    Failure to State a Claim

           Finally, Defendants argue that some of Mr. Mohamed’s official-capacity claims should be

    dismissed for failure to state a claim. See [Doc. 71 at 17].

           A.      Eighth Amendment Deliberate Indifference – Claims Eight, Nine, and Ten

           Defendants argue that “Plaintiff’s failure to allege deliberate indifference . . . requires

    dismissal of his [Eighth Amendment deliberate indifference] official-capacity claims” against

    Defendants Jones, Huddleston, and Osagie. [Doc. 71 at 17]. Beyond this bare statement,

    Defendant offer no arguments in addition to those raised with respect to the application of qualified

    immunity, which the court has declined to adopt. See [id.]. Because the court has concluded that

    Mr. Mohamed does sufficiently state Eighth Amendment claims against these Defendants, the

    court does not find that dismissal is warranted. Accordingly, I respectfully RECOMMEND that

    the First Motion to Dismiss be DENIED insofar as it seeks dismissal of Plaintiff’s Claims Eight,

    Nine, and Ten brought against Defendants in their official capacities. 17

           B.      First Amendment – Claim Seven

           Defendants next assert that Mr. Mohamed has failed to state a First Amendment claim

    under Rule 12(b)(6) and thus, the official-capacity claim against Defendant Brush should be

    dismissed. [Doc. 71 at 10]. 18 Defendants argue that Mr. Mohamed has failed to plausibly allege


    17
       Defendants also argue that “[t]o the extent Plaintiff may seek money damages for his official-
    capacity claims, such damages are not available,” citing Matthews v. Wiley, 744 F Supp. 2d 1159
    (D. Colo. 2010). [Doc. 71 at 17]. Even construing Plaintiff’s Second Amended Complaint
    liberally, the court concludes that Mr. Mohamed does not seek money damages for the official
    capacity claims against Defendants Huddleston, Jones, or Osagie. See [Doc. 64 at 3, 30].
    18
      The court has already concluded that no Bivens remedy exists for the alleged First Amendment
    violation. See supra Section II.B. However, Bivens applies only to individual-capacity claims
    seeking money damages, and Mr. Mohamed purports to assert a claim for injunctive relief against
    Defendant Brush in his official capacity. See [Doc. 64 at 30 (requestion an injunction “ordering
    Brush (claim 7, offic. capacity) to immediately locate the material[s] he confiscated from my cell,
    and submit them to me”)]. “[A]lthough ‘Bivens suits are limited to damages, . . . equitable relief
                                                     59
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 60 of 79




    a violation of his First Amendment rights because he has not pled facts showing that the alleged

    conduct was not reasonably related to a legitimate penological interest. [Doc. 71 at 8-10].

           As a preliminary matter, the court notes that Mr. Mohamed does not expressly invoke any

    particular theory of relief in asserting his First Amendment claim. Generally, he asserts that

    Defendant Brush violated his First Amendment rights when he removed and destroyed Mr.

    Mohamed’s written materials, including writings on religious topics. See [Doc. 64 at ¶¶ 86-95].

    Liberally construing Mr. Mohamed’s Second Amended Complaint, the court finds his allegations

    could be construed as asserting First Amendment claims for a violation of the right to free speech,

    see Sabbath v. Hicks, No. 20-cv-00893-PAB-KMT, 2021 WL 1300602, at *6 (D. Colo. Feb. 19,

    2021), report and recommendation adopted, 2021 WL 1015986 (D. Colo. Mar. 17, 2021)

    (analyzing First Amendment free speech claim where the plaintiff alleged that religious books and

    notes were removed from his cell); a violation of the right to freely exercise his religion, see Neal

    v. Lewis, 325 F. Supp. 2d 1231, 1236 (D. Kan. 2004), aff’d, 414 F.3d 1244 (10th Cir. 2005)

    (analyzing First Amendment free exercise claim where the plaintiff alleged his rights were

    infringed by the removal of religious texts from his cell); or First Amendment retaliation, see




    is available in the nature of injunction and/or mandamus under 28 U.S.C. §§ 1331 and/or 1361.”
    Gess v. USMS, No. 20-cv-01790-PAB-STV, 2020 WL 8838280, at *11 (D. Colo. Dec. 10, 2020),
    report and recommendation adopted in relevant part sub nom. Gess v. USMS & 10th Cir. Dist.
    Ct., 2021 WL 423436 (D. Colo. Feb. 5, 2021); see also Simmat v. U.S. Bureau of Prisons, 413
    F.3d 1225, 1231 (10th Cir. 2005) (“Federal courts have long exercised the traditional powers of
    equity, in cases within their jurisdiction, to prevent violations of constitutional rights.”). In his
    Second Amended Complaint, Mr. Mohamed stations that this court has jurisdiction under, inter
    alia, 28 U.S.C. § 1331. See [Doc. 64 at 4]. For these reasons, and because Defendants do not seek
    dismissal of Claim Seven under Rule 12(b)(1), see [Doc. 71 at 10], the court proceeds in analyzing
    the sufficiency of Plaintiff’s First Amendment claim, only insofar as Mr. Mohamed seeks
    injunctive relief against Defendant Brush in his official capacity.

                                                     60
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 61 of 79




    Rocha v. Zavaras, No. 10-cv-00357-CMA-MEH, 2011 WL 1158003, at *5 (D. Colo. Feb. 23,

    2011), report and recommendation adopted, 2011 WL 1154636 (D. Colo. Mar. 29, 2011). 19

           However, the lack of specificity in the Second Amended Complaint does not hinder the

    court’s analysis, because regardless of the theory furthered by Plaintiff, he nevertheless must allege

    facts showing that the challenged action is not reasonably related to a legitimate penological

    interest. See Sabbath, 2021 WL 1300602, at *5, *6 (noting that a plaintiff must allege a lack of

    legitimate penological interest for both a free exercise and a free speech claim); Requena v.

    Roberts, 893 F.3d 1195, 1211 (10th Cir. 2018) (“[C]laims of retaliation fail if the alleged

    retaliatory conduct violations were issued for the actual violation of a prison rule.”).

           Defendants’ argument is premised on a prison policy which “limits inmates to a maximum

    of eight books and two personal compositions,” not exceeding one cubic foot of material. [Doc.

    71 at 9 (citing [Doc. 71-2 at 3, 9])]. 20 Defendants state that the allegations “demonstrate that

    Plaintiff’s materials far exceeded these limits,” and thus, he has not set forth allegations suggesting

    that the removal of materials from his cell was not related to a penological purpose. [Id. at 9-10].



    19
       Defendants assert in their Reply to the First Motion to Dismiss that, in his Response, Mr.
    Mohamed “attempts to re-cast his freedom of speech claim as a First Amendment retaliation claim
    by relying on allegations that were not included in the Second Amended Complaint.” [Doc. 89 at
    7]. The court respectfully disagrees. In the Second Amended Complaint, Mr. Mohamed alleges
    that after Defendant Brush confiscated his property, he was later informed by a correctional
    counselor that his materials would not be returned until Plaintiff ended his hunger strike. [Doc.
    64 at ¶ 98]. Construing Plaintiff’s allegations liberally, the court finds that Mr. Mohamed has
    sufficiently invoked a retaliation theory in the Second Amended Complaint, asserting that
    Defendant Brush confiscated his materials in retaliation for Mr. Mohamed’s hunger strike. And
    while Defendants do not argue that a hunger strike is not a protected activity and the issue is not
    before the court, the court simply notes that some courts have held that a hunger strike is a
    protected activity, although courts appear divided on this issue. See Dumbrique v. Brunner, No.
    14-cv-02598-HSG, 2016 WL 3268875, at *15 (N.D. Cal. June 15, 2016) (citing cases).
    20
      The court may take judicial notice of BOP policies, Bowman, 2020 WL 7249089, at *10 n.4,
    and matters subject to judicial notice may be considered at the motion-to-dismiss stage. Gee v.
    Pacheco, 627 F.3d 1178, 1186 (10th Cir. 2010).

                                                      61
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 62 of 79




    In response, Mr. Mohamed argues that he has sufficiently alleged facts showing that Defendant

    Brush “lacked any legitimate penological objective when [he] confiscated the materials” because

    “several staff . . . told Plaintiff that Brush lacked any rational reason in removing the materials.”

    [Doc. 83 at 5 (citing [Doc. 64 at ¶ 105])].

           The court respectfully disagrees with Plaintiff that the Second Amended Complaint

    contains allegations sufficient to allege that Defendant Brush lacked a legitimate penological

    interest in removing the items from Plaintiff’s cell. The Supreme Court and the Tenth Circuit have

    each acknowledged that restrictions that may “raise grave First Amendment concerns outside the

    prison context” may be permissible within a prison. Gee v. Pacheco, 627 F.3d 1178, 1187 (10th

    Cir. 2010) (quoting Turner v. Safley, 482 U.S. 78, 84 (1987)). Thus, to determine whether a prison

    restriction is constitutional, a court must determine not “only whether the restriction impinges on

    a constitutional right, but also whether the restriction is ‘reasonably related to legitimate

    penological interests’ given the unique security and administrative challenges that operating a

    prison presents.” Sabbath, 2021 WL 1300602, at *4 (quoting Gee, 627 F.3d at 1187). “The burden

    is on the prisoner to disprove the validity of the prison regulations at issue.” Toevs v. Reid, No.

    06-cv-01620-CBS-KMT, 2009 WL 598258, at *11 (D. Colo. Mar. 6, 2009). Relevant here, the

    Tenth Circuit has ruled that a defendant “[does] not violate [an inmate’s] First Amendment rights

    simply by enforcing a prison regulation limiting the number of books he could keep in his cell,”

    particularly in light of “the prison’s legitimate administrative and penological objectives, including

    fire safety, institutional security, [and] control of the source and flow of property within the

    prison.” Neal v. Lewis, 414 F.3d 1244, 1248 (10th Cir. 2005).

           Here, Mr. Mohamed alleges that Defendant Brush removed several of his written materials,

    including twelve notebooks, two “large” manuscripts, a third manuscript that was 550 pages in



                                                     62
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 63 of 79




    length, his “shorter works” and notes, and six books. [Doc. 64 at ¶¶ 88-94]. However, Mr.

    Mohamed also alleges that several of his materials were returned to him, including two volumes

    of the Arabic Bible, an English dictionary, and “[three] or [four] religious books.” [Id. at ¶ 101].

    Defendants argue that the removal of these items was pursuant to a BOP policy, which limits the

    number and size of inmates’ personal compositions, manuscripts, and books. See [Doc. 71-2 at 3,

    9].

           Mr. Mohamed does not allege facts showing that Defendant Brush’s removal of his items

    exceeded the bounds of or failed to comply with this BOP policy, so as to suggest that the removal

    was not related to a legitimate penological purpose. Compare Sabbath, 2021 WL 1300602, at *6

    (where the plaintiff alleged that the defendant removed his books from his cell, “falsely claiming

    the religious property . . . belonged to another inmate and was nuisance contraband,” finding that

    the plaintiff had stated a First Amendment claim where the applicable BOP policy “[did] not allow

    a defendant to falsely claim materials are contraband in order to remove the materials from a

    prisoner’s cell, as Plaintiff alleges.”) (emphasis in original). At best, Mr. Mohamed alleges that

    “several [BOP] staff” told Plaintiff that Defendant Brush “lacked any rational reason” to remove

    his items, including “the case manager who led the shakedown of [his] cell.” [Doc. 64 at ¶ 105].

    He states that the case manager “saw the materials but did not touch[] them, because [they] posed

    no threat, and there was no legitimate [penological] interest in confiscating them.” [Id.]. But Mr.

    Mohamed does not specifically identify any of these staff members or allege facts supporting an

    inference of a retaliatory motive on the part of Defendant Brush. See generally [id.]. Indeed, Mr.

    Mohamed’s allegations, construed liberally, suggest only that the unnamed staff member

    personally believed the materials “posed no threat”—not that Defendant Brush acted outside of

    the BOP policy or in the absence of a legitimate penological purpose. [Id.]. The court cannot



                                                    63
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 64 of 79




    conclude that Mr. Mohamed has sufficiently alleged facts supporting an inference that Defendant

    Brush lacked a legitimate penological purpose in removing the materials from Plaintiff’s cell. Cf.

    Toevs, 2009 WL 598258, at *11 (concluding that the plaintiff failed to state a First Amendment

    claim based on a limitation of the number of books and magazines he was permitted where the

    plaintiff had failed to allege facts showing that the limitation was not related to a legitimate

    penological purpose).

           While the court must construe Mr. Mohamed’s allegations liberally, the court “may not

    assume that [he] can prove facts that he has not alleged.” Mostafa v. Barr, No. 20-cv-00694-PAB-

    NYW, 2021 WL 330167, at *1 n.1 (D. Colo. Jan. 30, 2021). To state a claim, Mr. Mohamed must

    “plead facts from which a plausible inference can be drawn that the [challenged] action was not

    reasonably related to a legitimate penological interest.” Gee, 627 F.3d at 1188 (emphasis added).

    Here, the court respectfully finds that the Second Amended Complaint lacks factual allegations to

    create such a plausible inference, and for this reason, the court concludes that Mr. Mohamed has

    failed to state a First Amendment Claim. The court thus respectfully RECOMMENDS that

    Plaintiff’s First Amendment claim against Defendant Brush in his official capacity be

    DISMISSED without prejudice for failure to state a claim. 21




    21
       Dismissal without prejudice to allow amendment of the complaint is appropriate where the
    plaintiff is “close to stating a claim but [is] missing some element that may not have occurred to
    him.” Gee, 627 F.3d at 1195; see also Reynoldson v. Shillinger, 907 F.2d 124, 126 (10th Cir.
    1990) (“If it is at all possible that the party against whom the dismissal is directed can correct the
    defect in the pleading or state a claim for relief, the court should dismiss with leave to amend.”).
    Given the length of time this action has been pending and the number of amendments already
    permitted, and because there is presently no request by Plaintiff to amend his Second Amended
    Complaint or any articulation of proposed amendments, the court declines to preemptively
    recommend that Mr. Mohamed be granted leave to amend, reserving the issue of whether to sua
    sponte grant leave or to require a motion to amend for the presiding judge.

                                                     64
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 65 of 79




    V.     Negligent Supervision Under the FTCA – Claim Fourteen

           Next, Defendants seek dismissal of Mr. Mohamed’s negligent supervision claim, which

    arises under the FTCA. [Doc. 71 at 17]. Generally, sovereign immunity shields the United States

    and its agencies from suit and deprives federal courts of jurisdiction to consider such claims. San

    Juan Cty. v. United States, 754 F.3d 787, 792 (10th Cir. 2014). This is so unless “Congress

    unequivocally expresses its intention to waive the government’s sovereign immunity in the

    statutory text.” Governor of Kan. v. Kempthorne, 516 F.3d 833, 841 (10th Cir. 2008) (internal

    quotation marks omitted). The FTCA is one such statute, and “provides a limited waiver of

    sovereign immunity” when the “negligent or wrongful act or omission of any employee of the

    Government while acting within the scope of his office or employment” would establish liability

    for a private person under the laws where the conduct occurred. Ball v. United States, 967 F.3d

    1072, 1075 (10th Cir. 2020) (citing 28 U.S.C. § 1346(b)).

           The FTCA requires a plaintiff to exhaust his administrative remedies as a jurisdictional

    precedent to suit. Duplan v. Harper, 188 F.3d 1195, 1199 (10th Cir. 1999) (“As a jurisdictional

    prerequisite, the FTCA bars claimants from bringing suit in federal court until they have exhausted

    their administrative remedies.”). To do so, a plaintiff must provide (1) a written notice of the claim

    and alleged injury to the appropriate federal agency, with (2) a sum certain damages. Est. of

    Trentadue ex rel. Aguilar v. United States, 397 F.3d 840, 852 (10th Cir. 2005) (explaining that the

    “notice requirements established by the FTCA must be strictly construed.”). A claim is properly

    presented to a federal agency if it “serves due notice that the agency should investigate the

    possibility of particular (potentially tortious) conduct.” Staggs v. United States, 425 F.3d 881, 884

    (10th Cir. 2005) (quotation omitted). But a “statement of legal theories” is not required, and the

    “claim” asserted “encompasses any cause of action fairly implicit in the facts.” Lopez v. United



                                                     65
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 66 of 79




    States, 823 F.3d 970, 976 (10th Cir. 2016) (quoting Murrey v. United States, 73 F.3d 1448, 1452

    (7th Cir. 1996)).

           Because the exhaustion requirement is jurisdictional, it cannot be waived, and it “bars

    would-be tort plaintiffs from bringing suit against the government unless the claimant has

    previously submitted a claim for damages to the offending agency, because Congress wants

    agencies to have an opportunity to settle disputes before defending against litigation in court.” Id.

    (internal quotations omitted).

           Here, Defendants argue that Plaintiff failed to exhaust his administrative remedies because

    the administrative claim provided to whomever lacked “critical facts related to [his] claim.” [Doc.

    71 at 18]. More specifically, Defendants assert that, while the administrative claim includes

    allegations that Mr. Mohamed was beaten and denied adequate medical treatment, the claim

    “makes no mention of the possibility that either the alleged beatings or Plaintiff’s injuries were the

    result of negligence by persons in the officers’ supervisory chain.” [Id.]. According to Defendants,

    had Plaintiff alleged facts suggesting a failure to supervise, the claim would have required an

    investigation “into completely different aspects of the incident and BOP’s operations.” [Id.].

    Defendants argue that because the BOP was not able to properly investigate the claim with respect

    to any supervisory liability, the claim should be dismissed under Rule 12(b)(1) for failure to

    exhaust. [Id.]. In response, Plaintiff argues that he provided sufficient notice of his claim because

    he stated that he was severely beaten “by [a] large number of officers/prison guards,” and because

    “officers” includes not only regular prison guards, but also lieutenants and “any prison official

    who might be at the scene.” [Doc. 83 at 18]; see also [Doc. 71-3 at 11 (Plaintiff’s Claim for

    Damage, Injury, or Death)]. 22 And even if the claim lacked necessary information, Mr. Mohamed


    22
       Insofar as Plaintiff asserts in his Response that he intended to file additional claims but was
    “inhibited from filing . . . any additional claims” because he was threatened by prison staff, see
                                                     66
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 67 of 79




    nevertheless asserts that the BOP had enough information to be on notice of his claim. [Doc. 83

    at 19].

              Mr. Mohamed’s claim states, in full:

              I was [severely] beaten, punched . . kicked, by large number of officers/prison
              guards in retaliation for my hunger strike. The beatings took place when I was
              already restrained and handcuffed and while I was weak in hunger strike. Over the
              course of the beating my ankle was fractured and my [other] limbs were
              aggressively twist in [an] attempt to [break] them and I received [bruises] in my
              [entire] upper body. My face, head, hands and legs all were swollen. Eventually I
              had to be put in leg cast and on wheelchair for more than 2 months. Over the next
              several months I was given [negligent] medical treatments, this includes the delay
              examination on my injuries and delay of diagnoses, . . . refusal to provide treatment,
              pain medication and even an ice bag, [except] on one [occasion]. I still cant [sic]
              walk normally today, 7+ months after I was attacked and I may never walk properly
              again. At the same time, I still have regular pain on my ankle, [wrists], back and
              on my jaws. The staff intentionally broke my bones and then refused me proper
              medical treatment.

    [Doc. 71-3 at 11, 12].

              To succeed on a claim of negligent supervision under Colorado law, a plaintiff must

    establish “(1) the defendant owed the plaintiff a legal duty to supervise others; (2) the defendant

    breached that duty; and (3) the breach of the duty caused the harm that resulted in damages to the

    plaintiff.” Settle v. Basinger, 411 P.3d 717, 723 (Colo. App. 2013). “The duty to supervise an

    agent or employee arises when the principal or employer has reason to know that the agent or

    employee is likely to harm others because of his or her qualities and the work or instrumentalities

    entrusted to him or her.” Id. (quotation and alteration marks omitted).

              While the FTCA’s notice requirements “should not be interpreted inflexibly,” Est. of

    Trentadue, 397 F.3d at 853, the court respectfully finds that Plaintiff’s claim does not sufficiently




    [Doc. 83 at 18-19], the court cannot consider these new facts in issuing this Recommendation. See
    Smallen v. The W. Union Co., 950 F.3d 1297, 1305 (10th Cir. 2020) (the court can “only consider
    facts alleged in the complaint itself in evaluating the sufficiency of the complaint.”).

                                                       67
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 68 of 79




    provide to the BOP notice of a potential negligent supervision claim such that the BOP knew that

    it should investigate the possibility of tortious conduct by supervisory employees. Staggs, 425

    F.3d at 884. While the claim sets forth facts detailing the beatings of Plaintiff and subsequent

    inadequate medical care, Mr. Mohamed does not set forth any facts suggesting negligent

    supervision, such as the presence of supervisory employees during the events alleged in the claim

    or any suggestion that any of the involved individuals were acting at the direction of their

    supervisor(s). See, e.g., Begay v. United States, 188 F. Supp. 3d 1047, 1095 (D.N.M. 2016) (where

    administrative claim “revolve[d] entirely around the details of the alleged negligent [medical]

    treatment” but failed to discuss any alleged failure of the defendant medical center’s administrator

    or management to supervise its staff, finding that the claim did not provide notice of potential

    negligent supervision or negligent credentialing claims); Bradley By & Through King v. United

    States, No. 16-1435-EFM-TJJ, 2017 WL 4310224, at *6 (D. Kan. Sept. 28, 2017) (finding failure

    to exhaust where the claim did not indicate that the defendants “failed to instruct, supervise, train,

    or control correctional officers” and “nothing in the [claim] mention[ed] the possibility that [the

    plaintiff’s] injuries were caused by inadequate training and supervision of USP Leavenworth

    staff”).

               As set forth above, to succeed on his negligent supervision claim against the United States,

    Plaintiff would need to establish a breach of a legal duty to supervise others. Settle, 411 P.3d at

    723. Absent any facts suggesting or implying that this duty could have been breached when

    Plaintiff was beaten or provided substandard medical care, the claim does not put the BOP on

    notice that it must investigate whether any supervisory officials were at the scene of or were

    involved in the beatings or were otherwise involved in the substandard medical care of Plaintiff.

    As a result, the court finds that Plaintiff failed to exhaust his administrative remedies with respect



                                                       68
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 69 of 79




    to his negligent supervision claim. See Lopez, 823 F.3d at 977 (where the plaintiff’s administrative

    claim detailed only substandard medical care, the claim failed to put the government on notice of

    a potential negligent credentialing claim, which requires proof that the defendant breached a legal

    duty, such that the defendant was “deprived of any opportunity to settle this potential claim without

    litigation.”); cf. Barnes v. United States, 707 F. App’x 512, 516 (10th Cir. 2017) (unpublished)

    (affirming dismissal of FTCA claim for negligent supervision where the claim “lack[ed] even a

    cursory mention of . . . training or supervision”).

           While Plaintiff argues that the general reference to “officers” suggests the presence of

    lieutenants or “any [other] prison official,” the court cannot conclude that this broad reference to

    “officials” is alone sufficient to imply a negligent supervision cause of action, as Plaintiff concedes

    that “officials” includes “regular prison guards” and does not, on its face, imply any particular

    rank. See [Doc. 83 at 18]. Moreover, the court acknowledges that, in his Second Amended

    Complaint, Plaintiff alleges that while he was being beaten, his head was forced down so he could

    not identify “most of the officers who were torturing and abusing [him].” [Doc. 64 at ¶ 39]. But

    Plaintiff also asserts in the Second Amended Complaint that was able to see that Defendant Armijo

    witnessed the beating, that Defendant Armijo was the unit’s lieutenant at the time of the beating,

    and that Defendant Armijo failed to intervene in the beating, [id. at ¶¶ 46-50], and also alleges that

    he heard Defendant Murton, also a lieutenant, continually giving his subordinates instructions as

    to how to beat Plaintiff. See, e.g., [id. at ¶¶ 60, 65-66]. Thus, it appears that Defendant Armijo’s

    presence and Defendant Murton’s instructions were known to Plaintiff at the time of the physical

    attack, and Plaintiff could have included these facts in his administrative claim to alert the BOP of

    a potential supervisory liability claim. Because he did not do so, the court respectfully finds that

    he did not exhaust his administrative remedies with respect to his negligent supervision claim—



                                                      69
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 70 of 79




    Claim Fourteen. Accordingly, I respectfully RECOMMEND that Plaintiff’s Claim Fourteen be

    DISMISSED without prejudice for lack of jurisdiction based on the failure to exhaust

    administrative remedies. 23 See Webb v. Smith, 632 F. App’x 957, 960 (10th Cir. 2015) (dismissal

    of FTCA claim for failure to exhaust should be without prejudice).

    VI.    Medical Negligence Under the FTCA – Claim Fifteen

           A.      Applicable Law

           As set forth above, the FTCA provides a limited waiver of sovereign immunity from suits

    against the United States. Notably, “[s]tate substantive law applies to suits brought against the

    United States under the FTCA.” Hill v. SmithKline Beecham Corp., 393 F.3d 1111, 1117 (10th

    Cir. 2004). Relevant here, Colorado law requires plaintiffs to file a certificate of review to pursue

    claims alleging professional negligence by a licensed professional:

           In every action for damages or indemnity based upon the alleged professional
           negligence of . . . a licensed professional, the plaintiff’s or complainant’s attorney
           shall file with the court a certificate of review for each . . . licensed professional
           named as a party, as specified in subsection (3) of this section, within sixty days
           after the service of the complaint . . . against such person unless the court determines
           that a longer period is necessary for good cause shown.

    Colo. Rev. Stat. § 13-20-602(1)(a); see also id. § 13-20-602(3)(a) (describing the contents of a

    sufficient certificate of review). The Tenth Circuit has held that Colorado’s certificate of review

    requirement constitutes state substantive law and therefore applies to FTCA claims based on

    medical negligence. See Hill, 393 F.3d at 1117. Failure to file a certificate of review necessitates

    the dismissal of the claim, see Colo. Tr. for Prot. & Benefits v. Souder, Miller & Assocs., Inc., 870

    F. Supp. 2d 1173, 1179 (D. Colo. 2012) (quoting Colo. Rev. Stat. § 13-20-602(4)), and this


    23
       Due to this recommendation, the court does not pass on Defendants’ argument that Plaintiff
    failed to state a claim of negligent supervision. [Doc. 71 at 19]. Should the presiding judge
    disagree with this recommendation, the undersigned Magistrate Judge is prepared to issue a
    supplemental recommendation addressing the merits of this alternative argument.

                                                     70
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 71 of 79




    requirement applies to all plaintiffs, even those proceeding pro se. See Yadon v. Southward, 64

    P.3d 909, 912 (Colo. App. 2002).

             A certificate of review is only necessary, however, if “(1) the plaintiff brings a claim of

    alleged professional negligence against a licensed professional, and (2) expert testimony is

    necessary to substantiate the claim.” Sherman v. Klenke, 653 F. App’x 580, 595 (10th Cir. 2016)

    (emphasis in original). “A court has discretion to determine whether a claim requires expert

    testimony, and therefore whether the certificate of review requirement is applicable.” Burns v.

    Ted Laurence, P.A., No. 10-cv-02691-WJM-CBS, 2013 WL 3771280, at *2 (D. Colo. July 17,

    2013).

             B.     Application

             Mr. Mohamed’s medical negligence claim has two separate bases: (1) the intentional

    failure to diagnose his ankle injury for two weeks; and (2) the intentional deprivation of pain

    medication. See [Doc. 64 at 25]. Defendants move to dismiss Mr. Mohamed’s FTCA claim

    predicated on medical negligence on the basis that expert testimony is required to substantiate

    claims arising both out of a delay in diagnosis and a failure to provide pain medication. [Doc. 81

    at 3]. Because Plaintiff did not file a certificate of review, Defendants argue that the court must

    dismiss Claim Fifteen. See [id.]. In response, Mr. Mohamed argues that he has “come forward

    . . . with enough factual allegations, which at this stage must be accepted as true, to render the

    certificate of review unnecessary.” [Doc. 88 at 1].

             In Colorado, medical malpractice actions are a subset of negligence actions and thus

    require a plaintiff to “show a legal duty of care on the defendant’s part, breach of that duty, injury

    to the plaintiff, and that the defendant’s breach caused the plaintiff’s injury.” Day v. Johnson, 255

    P.3d 1064, 1068-69 (Colo. 2011). “In general, expert testimony in medical negligence actions is



                                                     71
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 72 of 79




    ‘necessary to determine the standards of professional care and competence which define the

    concept of reasonableness appropriate to adjudication of such disputes.’” Abdo v. Balsick, No. 18-

    cv-01622-KMT, 2019 WL 6726230, at *12 (D. Colo. Dec. 11, 2019) (quoting Gorab v. Zook, 943

    P.2d 423, 427 (Colo. 1997)). Expert testimony is required to establish professional negligence “in

    the great majority of cases,” Williams v. Boyle, 72 P.3d 392, 397 (Colo. App. 2003), as “[t]he

    question of whether a medical professional’s conduct meets the professional standard of care is

    not within the ambit of common knowledge under Colorado law.” Shinn v. Melberg, No. 12-cv-

    01180-LTB-BNB, 2014 WL 334662, at *3 (D. Colo. Jan. 30, 2014).

           “A physician possessing ordinary skill and exercising ordinary care in applying it is not

    responsible for a mistake of judgment.” Basanti v. Metcalf, No. 11-cv-02765-PAB-NYW, 2015

    WL 868758, at *27 (D. Colo. Feb. 26, 2015) (citing Bonnet v. Foote, 107 P. 252, 254 (Colo. 1910)).

    Indeed, a poor outcome is insufficient to prove negligence. See Day, 255 P.3d at 1069. Mr.

    Mohamed must instead prove a breach of the duty of care, “measured by whether a reasonably

    careful physician of the same school of medicine as the defendant would have acted in the same

    manner as did the defendant in treating and caring for the patient.” Gallardo v. United States, 752

    F.3d 865, 871 (10th Cir. 2014) (quoting Day, 255 P.3d at 1069)).

           Mr. Smith’s medical negligence claim is based on the failure to diagnose his ankle

    fracture—i.e., the failure to order an x-ray and failure to examine Plaintiff’s ankle, see [Doc. 64 at

    ¶ 162]—and the failure to provide Plaintiff pain medication—i.e., the failure to give Plaintiff

    medicine stronger than ibuprofen or other medications in the commissary prior to April 2019. [Id.

    at ¶¶ 163, 165]. While there may be instances where a medical malpractice claim “lies within the

    ambit of common knowledge or experience of ordinary persons,” matters “relating to medical

    diagnosis and treatment ordinarily involve a level of technical knowledge and skill beyond the



                                                     72
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 73 of 79




    realm of lay knowledge and experience,” requiring expert opinion testimony.              Melville v.

    Southward, 791 P.2d 383, 387 (Colo. 1990). Here, the court finds that Plaintiff’s claims require

    expert testimony, as they involve medical diagnosis and treatment for which expert testimony is

    necessary to establish the standards of professional care and competence. See Hooper v. Yampa

    Valley Med. Ctr., No. 18-cv-01863-NYW, 2019 WL 1098968, at *3 (D. Colo. Mar. 8, 2019)

    (certificate of review was required where negligence claim was based on the failure to conduct an

    x-ray of the plaintiff’s leg and diagnose a leg fracture); cf. Smith, 2021 WL 1799400, at *11

    (medical negligence claim based on the denial of an MRI required expert testimony); cf. Gonzales

    v. Corr. Health Partners, LLC, No. 14-CV-03084-RM-KLM, 2019 WL 2173833, at *10 (D. Colo.

    May 20, 2019) (in Eighth Amendment context, recognizing that “the appropriateness of using”

    certain pain medications is a matter of medical judgment, especially where the plaintiff “was

    receiving other forms of pain medication”).

           In his Response, Plaintiff asserts that, pursuant to the doctrine of res ipsa loquitur, no

    certificate of review is required here. See [Doc. 88 at 3-4]. The court respectfully disagrees. “Res

    ipsa loquitur applies to a malpractice claim only when it is judicially determined that a particular

    unexplained occurrence creates a prima facie case of negligence without proof of specific

    misconduct.” Shelton v. Penrose/St. Francis Healthcare Sys., 984 P.2d 623, 625 n.2 (Colo. 1999)

    (internal quotation marks omitted). This occurs “only in unusual circumstances,” see id. at 627,

    and requires “a plaintiff present evidence that the event is the kind which ordinarily does not occur

    in the absence of negligence; responsible causes other than the defendant’s negligence are

    sufficiently eliminated by the evidence; and the presumed negligence is within the scope of the

    defendant's duty to the plaintiff.” Williams v. Boyle, 72 P.3d 392, 398 (Colo. App. 2003). While

    Mr. Mohamed need not specifically reference res ipsa loquitur in his Second Amended Complaint,



                                                     73
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 74 of 79




    he fails to make the requisite showing at this juncture as to the applicability of the doctrine, as he

    fails to identify an “unexplained occurrence” that gives rise to a prima facie case of negligence.

    The court concludes that Mr. Mohamed’s claim requires expert testimony to establish a prima facie

    medical malpractice claim, rendering a certificate of review necessary. Accordingly, the court

    finds that Claim Fifteen is properly dismissed for failure to file a certificate of review. Because

    no certificate of review was filed, the court respectfully RECOMMENDS that the Second Motion

    to Dismiss be GRANTED and that Plaintiff’s Claim Fifteen be DISMISSED. 24

                                  MOTION TO APPOINT COUNSEL

           Having addressed the arguments concerning the sufficiency of Mr. Mohamed’s allegations,

    the court next turns to his Motion to Appoint Counsel. [Doc. 98]. The determination of whether

    to seek appointment of pro bono counsel in a civil case is left to the sound discretion of the trial

    court. Rucks v. Boergermann, 57 F.3d 978, 979 (10th Cir. 1995). But the court cannot appoint

    counsel; instead, the court can only ask an attorney to take the case. Moaz v. Denver Int’l Airport,

    747 F. App’x 708, 711 (10th Cir. 2018) (unpublished) (citing Rachel v. Troutt, 820 F.3d 390, 396-

    97 (10th Cir. 2016)). In deciding whether to request counsel for a civil litigant, the district court

    should evaluate “the merits of a [litigant’s] claims, the nature and complexity of the factual issues,

    and the [litigant’s] ability to investigate the facts and present his claims.” Hill v. Smithkline



    24
       Defendants do not seek dismissal of this Claim with or without prejudice. See generally [Doc.
    81]. “[W]hether the failure to file a Certificate of Review results in the dismissal of claims with
    or without prejudice is not an entirely settled question.” Sherman v. Klenke, No. 11-cv-03091-
    PAB-CBS, 2014 WL 12939925, at *1 n.1 (D. Colo. Feb. 20, 2014) (citing cases). Because the
    court is mindful that parties sometimes raise issues in objecting to a Recommendation that might
    inform Judge Jackson’s determination of whether amendment would be futile, see Brereton v.
    Bountiful City Corp., 434 F.3d 1213, 1219 (10th Cir. 2006) (explaining that dismissal without
    leave to amend and with prejudice is appropriate where no amendment could cure the defect), the
    court declines to make a recommendation as to whether dismissal of Claim Fifteen should be with
    or without prejudice, reserving such decision to the presiding judge.

                                                     74
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 75 of 79




    Beecham Corp., 393 F.3d 1111, 1115 (10th Cir. 2004) (citations omitted). “The burden is on the

    applicant to convince the court that there is sufficient merit to his claim to warrant the appointment

    of counsel.” Id. “Only in those extreme cases where the lack of counsel results in fundamental

    unfairness will the district court’s decision be overturned.” Id.

           In deciding whether to appoint counsel, the court considers all relevant circumstances,

    including but not limited to: (1) the nature and complexity of the action; (2) the potential merit of

    the claims or defenses of the unrepresented party; (3) the demonstrated inability of the

    unrepresented party to retain an attorney by other means; and (4) the degree to which the interests

    of justice, including the benefits to the court, will be served by appointment of counsel.

    D.C.COLO.LAttyR 15(f)(1)(B)(i)-(iv).

           In the Motion, Plaintiff seeks appointment of counsel for the general representation of this

    civil action. [Doc. 98 at 3]. In the alternative, if general representation is not possible, Mr.

    Mohamed seeks limited representation in the form of assistance in obtaining expert witnesses,

    conducting depositions, and collecting prisoner declarations. [Id.]. Mr. Mohamed argues that this

    action is complex in nature because it is a “seriously contested case” involving constitutional

    claims, for which he needs “declarations from prisoner[] witnesses,” whose whereabouts are

    unknown, as well as expert witnesses. [Id. at 2]. He further states that he is indigent and unable

    to hire an attorney or any experts, and that he has contacted seven law firms and/or attorneys but

    has been unable to secure representation. [Id.]. At bottom, he asserts that the court will benefit

    from having attorneys on both sides of the case. [Id. at 3].

           Upon review of the Motion, Mr. Mohamed’s filings, and the D.C.COLO.LAttyR 15(f)

    factors, the court respectfully concludes that appointment of counsel is not warranted at this time.

    First, this court is not convinced that the substantive issues in this case are so uniquely complex so



                                                     75
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 76 of 79




    as to warrant appointment of counsel at this juncture. See Toevs v. Reid, 685 F.3d 903, 916 (10th

    Cir. 2012) (explaining appointment of counsel is appropriate in “extreme case[s] where the lack

    of counsel results in fundamental unfairness.”). Indeed, this court has recommended that the First

    Motion to Dismiss be denied with respect to several of Mr. Mohamed’s claims, which suggests

    that Mr. Mohamed has sufficiently articulated the basis of his causes of action. Further, the court

    reminds Mr. Mohamed that, because he proceeds pro se, the court will afford his filings liberal

    construction. The Tenth Circuit has explained that “liberal construction of pro se pleadings ‘means

    that if the court can reasonably read the pleadings to state a valid claim on which the plaintiff could

    prevail, it should do so despite the plaintiff’s failure to cite proper legal authority, his confusion of

    various legal theories, his poor syntax and sentence construction, or his unfamiliarity with pleading

    requirements.’” United States v. $9,020.00 In U.S. Currency, 30 F. App’x 855, 858 (10th Cir.

    2002) (quoting Hall, 935 F.2d at 1110).

            While the court acknowledges Mr. Mohamed’s concerns about identifying and retaining

    expert witnesses and locating witnesses, such circumstances are unfortunately not unique. See

    Rucks, 57 F.3d at 979 (“While we do not quarrel with [Plaintiff’s] assertion that having counsel

    appointed would have assisted him in presenting his strongest possible case, the same could be

    said in any case.”); see also Walker v. Meyer, No. 08-cv-01911-REB-KLM, 2008 WL 4787569,

    at *1 (D. Colo. Oct. 30, 2008) (explaining that the fact that a plaintiff is incarcerated does not itself

    warrant the need for volunteer counsel, as “incarceration is a normal . . . circumstance in this type

    of case before this court, and therefore, does not provide special circumstances to consider in

    determining whether to seek volunteer counsel.”). And although Mr. Mohamed asserts that

    appointment of counsel is warranted because he is indigent, [Doc. 98 at 2], a person’s financial

    status does not guarantee the right to counsel in civil cases. See Jones v. Pizza Hut, Inc., No. 10-



                                                       76
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 77 of 79




    cv-00442-WYD-KMT, 2010 WL 1268048, at *1 (D. Colo. Mar. 30, 2010) (“Unlike a criminal

    defendant, a plaintiff in a civil case has no constitutional or statutory right to appointed counsel.”);

    see also Vasquez v. U.S. Off. of Pers. Mgmt., 847 F. Supp. 848, 849 (D. Colo. 1994) (“There is no

    constitutional right to counsel simply because a litigant is indigent.”).           Accordingly, Mr.

    Mohamed’s economic status does not provide a basis for appointment of counsel here.

            Finally, the court finds the Motion to Appoint Counsel premature. While the undersigned

    Magistrate Judge is, along with this Order, issuing a Recommendation on the Motions to Dismiss,

    such dispositive motions will remain pending until the Parties have been given an opportunity to

    file objections and after the presiding judge has issued a final order ruling on the Recommendation.

    This case is still in its early stages, with pending dispositive motions and yet-to-be commenced

    discovery, and the court thus finds that the Motion to Appoint Counsel is premature. Weeks v.

    Barkman, No. 20-cv-00544-PAB-NYW, 2020 WL 7385711, at *2 (D. Colo. Dec. 16, 2020)

    (“Given the early procedural posture of this case and the fully briefed Motions to Dismiss . . ., this

    court finds Plaintiff's Motion premature.”). Should the circumstances of this case change, Mr.

    Mohamed may renew his request for appointment of counsel at a later date. See McCullon v.

    Parry, No. 18-cv-00469-NYW, 2019 WL 4645436, at *5 (D. Colo. Sept. 24, 2019) (appointing

    pro bono counsel under the factors of D.C.COLO.LAttyR 15(f)(1)(B)(i)-(iv) “given that this matter

    is now moving to trial.” (emphasis added)). For these reasons, the Motion to Appoint Counsel

    will be DENIED without prejudice.

                                              CONCLUSION

            For the reasons stated herein, this court respectfully RECOMMENDS that:

            (1)     The Motion to Dismiss Second Amended Complaint in Part Pursuant to Rules

            12(b)(6) and 12(b)(1) [Doc. 71] be GRANTED in part and DENIED in part;



                                                      77
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 78 of 79




              (2)    Defendant United States’ Motion to Dismiss Claim Fifteen in the Second Amended

              Complaint [Doc. 81] be GRANTED;

              (3)    Plaintiff’s Claims Seven and Fourteen be DISMISSED without prejudice;

              (4)    Plaintiff’s Claim Fifteen be DISMISSED; 25 and

              (5)    Plaintiff’s Claims One, Two, Three, Four, Five, Six, Eight, Nine, Ten, Eleven,

              Twelve, and Thirteen REMAIN. 26

    In addition, it is hereby ORDERED that:

              (1)    Plaintiff’s Motion to File Surreply to Defendants’ Motion to Dismiss [Doc. 94] is

              DENIED;

              (2)    The Prisoner Motion for Appointment of Counsel [Doc. 98] is DENIED without

              prejudice; 27 and


    25
         See supra n.24.
    26
       Within fourteen days after service of a copy of the Recommendation, any party may serve and
    file written objections to the Magistrate Judge’s proposed findings and recommendations with the
    Clerk of the United States District Court for the District of Colorado. 28 U.S.C. § 636(b)(1); Fed.
    R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583 (10th Cir. 1995). A general objection that does
    not put the District Court on notice of the basis for the objection will not preserve the objection
    for de novo review. “[A] party’s objections to the magistrate judge’s report and recommendation
    must be both timely and specific to preserve an issue for de novo review by the district court or
    for appellate review.” United States v. One Parcel of Real Prop. Known As 2121 E. 30th St., 73
    F.3d 1057, 1060 (10th Cir. 1996). Failure to make timely objections may bar de novo review by
    the District Judge of the Magistrate Judge’s proposed findings, conclusions of law, and
    recommendations and will result in a waiver of the right to appeal from a judgment of the district
    court based on the proposed findings and recommendations of the magistrate judge. See Vega v.
    Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (District Court’s decision to review a Magistrate
    Judge’s recommendation de novo despite the lack of an objection does not preclude application of
    the “firm waiver rule”); Int’l Surplus Lines Ins. Co. v. Wyo. Coal Refining Sys., Inc., 52 F.3d 901,
    904 (10th Cir. 1995) (by failing to object to certain portions of the Magistrate Judge’s order, cross-
    claimant had waived its right to appeal those portions of the ruling); Ayala v. United States, 980
    F.2d 1342, 1352 (10th Cir. 1992) (by their failure to file objections, plaintiffs waived their right to
    appeal the Magistrate Judge’s ruling). But see Morales-Fernandez v. INS, 418 F.3d 1116, 1122
    (10th Cir. 2005) (firm waiver rule does not apply when the interests of justice require review).
    27
       Rule 72(a) of the Federal Rules of Civil Procedure provides that when a pretrial matter not
    dispositive of a party’s claim or defense is referred to a Magistrate Judge to hear and decide, the
                                                      78
Case 1:20-cv-02516-RBJ-NYW Document 103 Filed 02/22/22 USDC Colorado Page 79 of 79




           (3)      A copy of this Order and Recommendation, marked as legal mail, shall be sent to:

                   Khalfan Khamis Mohamed, #44623-054
                   Florence ADMAX U.S. Penitentiary
                   Inmate Mail/Parcels
                   PO Box 8500
                   Florence, CO 81226

                   and

                   Case Manager for Khalfan Khamis Mohamed, #44623-054
                   Florence ADMAX U.S. Penitentiary
                   Inmate Mail/Parcels
                   PO Box 8500
                   Florence, CO 81226


    DATED: February 22, 2022                             BY THE COURT:


                                                         _________________________
                                                         Nina Y. Wang
                                                         United States Magistrate Judge




    Magistrate Judge must issue a written order stating the decision. Within fourteen (14) days after
    service of a copy of this Order, any party may serve and file written objections with the Clerk of
    the United States District Court for the District of Colorado. 28 U.S.C. § 636(b)(1); Fed. R. Civ.
    P. 72(a). Failure to make any such objection will result in a waiver of the right to appeal the non-
    dispositive order. See Sinclair Wyo. Ref. Co. v. A & B Builders, Ltd. 989 F.3d 747, 782 (10th Cir.
    2021) (firm waiver rule applies to non-dispositive orders); but see Morales-Fernandez v. INS, 418
    F.3d 1116, 1119, 1122 (10th Cir. 2005) (firm waiver rule does not apply when the interests of
    justice require review, such as when a “pro se litigant has not been informed of the time period for
    objecting and the consequences of failing to object”).

                                                    79
